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                          LOAN AGREEMENT

                          BY AND BETWEEN


         BOUCHARD TRANSPORTATION CO., INC., on the one hand

                                   and

     WELLS FARGO BANK, NATIONAL ASSOCIATION, on the other hand


                  $100,000,000 Revolving Credit Facility



                     dated as of October 30, 2013




                                                              EXHIBIT 1
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                                     LOAN AGREEMENT

        THIS LOAN AGREEMENT (this “Agreement”), made as of the 30th day of October,
2013, by and between BOUCHARD TRANSPORTATION CO., INC., a New York corporation
(the “Borrower”), on the one hand, and WELLS FARGO BANK, NATIONAL ASSOCIATION,
a national banking association (the “Bank”) on the other hand.

                                         WITNESSETH:

       WHEREAS, the Borrower and certain Subsidiaries operate vessels in the coastwise trade
under common or affiliated management;

       WHEREAS, the Borrower from time to time may provide working capital and other
financial assistance to such Subsidiaries;

       WHEREAS, such Subsidiaries will derive benefits, directly and indirectly, from the loans
to be made to the Borrower pursuant to this Agreement; and

        WHEREAS, the Bank is willing to make senior secured revolving credit loans to the
Borrower in an aggregate principal amount not to exceed $100,000,000 at any time outstanding
on the terms and conditions hereinafter set forth,

       NOW, THEREFORE, in consideration of the foregoing, the parties hereto agree as
follows:

                                             Article 1.
                                             Definitions

       Section 1.1    Certain Definitions.

              As used in this Agreement, the following terms shall have the following
meanings:

              “Additional Security” has the meaning ascribed thereto in Section 6.16.

              “Affected Loans” has the meaning ascribed thereto in Section 2.20.

              “Affected Type” has the meaning ascribed thereto in Section 2.20.

                “Affiliate” means, as to any Person, any other Person that directly or indirectly
controls, or is under common control with, or is controlled by, such Person. As used in this
definition, “control” (including, with its correlative meanings, “controlled by” and “under
common control with”) shall mean possession, directly or indirectly, of power to direct or cause
the direction of management or policies (whether through ownership of securities or partnership
or other ownership interests, by contract or otherwise), provided that, in any event: (a) any
Person that owns directly or indirectly 5% or more of the securities having ordinary voting
power for the election of directors or other governing body of a corporation or 10% or more of
the partnership or other ownership interests of any other Person (other than as a limited partner
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of such other Person) will be deemed to control such corporation or other Person; and (b) each
shareholder, director and officer of any Borrower shall be deemed to be an Affiliate of such
Borrower.

              “Agreement” has the meaning ascribed thereto in the preamble hereto.

              “Applicable Lending Office” means, with respect to each type of Loan, the office
of the Bank or of an affiliate of the Bank as the Bank may from time to time specify to the
Borrower as the office at which its Loans of such type are to be made and maintained.

               “Applicable Margin” means, (a) with respect to any Eurodollar Loan, one and
three-eighths percent (1.375%) and (b) with respect to any Prime Rate Loan, zero percent
(0.00%).

               “Appraisal Value” means, in respect of any Vessel, the fair market value of such
Vessel, as determined from time to time in accordance with this Agreement by an independent
sale and purchase broker selected by the Bank, taking into account such Vessel’s physical
condition, type and flag, among other relevant considerations, to determine the price that would
be obtained in an arm’s-length transaction between an informed and willing buyer-user (other
than a person currently in possession) and an informed and willing seller under no compulsion to
sell and, in such determination, costs of removal from the location of current use shall be a
deduction from such value.

               “Approved Additional Financing” means any one or more of the following;
provided, that the aggregate principal amount of all Approved Additional Financings for the
items set forth in clauses (a), (b), (c) and (d) below shall not exceed Twenty Million Dollars
($20,000,000):

              (a)    unsecured loans to Borrower by banks or financing institutions other than
the Bank, provided that the terms of such loans shall comply with condition (ii) of clause (b)
below;

              (b)    secured loans to Borrower by banks or financing institutions other than the
Bank, provided that:

                      (i)     the collateral for such loans, if any, shall be capital assets not
       pledged to the Bank and shall not afford such bank or financing institution a ratio of asset
       value to loan principal greater than the comparable ratio required hereby; and

                        (ii)   the terms of such loans shall not be more restrictive upon Borrower
       and/or its Subsidiaries than the terms hereof, nor shall the terms of such loans include any
       negative pledge agreement or other covenant or condition which would limit the ability
       of the Borrower and/or its Subsidiaries thereof to alter, amend, or provide for additional
       collateral for, this Agreement or any of the Affiliate Agreements; and

               (c)    secured loans to Borrower effected by participation in additional
Revolving Credit Loans hereunder provided that appropriate adjustment in the terms and
conditions hereunder are made in the opinion of the Bank;


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             (d)      additional loans by the Bank to the Borrower on such terms as it and the
Bank may agree;

              (e)     secured and unsecured loans in connection with the acquisition and
maintenance of a certain G-450 Aircraft or other aircraft (inclusive of spare parts) not to exceed
$15,000,000 in the aggregate; and

              (f)     secured and unsecured loans in connection with the construction,
maintenance and operation of that certain Pier 57 property located in Brooklyn, New York, not
to exceed $5,000,000 in the aggregate.

              For the avoidance of doubt, Additional Approved Financings shall not be deemed
to be Investments.

               “Assignments” has the meaning ascribed thereto in subsection 2.15(a)(ii)(C).

              “Attributable Indebtedness” means, on any date, in respect of any Capitalized
Lease of any Person, the capitalized amount thereof that would appear on a balance sheet of such
Person prepared as of such date in accordance with GAAP.

               “B No. 210 Co.” means B. No. 210 Corp., a New York corporation.

               “B No. 215 Co.” means B. No. 215 Corp., a New York corporation.

               “B No. 225 Co.” means B. No. 225 Corp., a New York corporation.

               “B No. 245 Co.” means B. No. 245 Corporation, a New York corporation.

               “B No. 250 Co.” means B. No. 250 Corp., a New York corporation.

               “B No. 260 Co.” means B. No. 260 Corporation, a New York corporation.

               “Brendan Bouchard Co.” means Tug Brendan J. Bouchard Corp., a New York
corporation.

               “Bank” has the meaning ascribed thereto in the preamble.

               “Borrower(s)” has the meaning ascribed thereto in the preamble.

               “Borrowing Notice” has the meaning ascribed thereto in subsection 2.1(b).

                “Business Day” means any day other than a Saturday, Sunday or any other day on
which commercial banks are authorized or required to close under the laws of, or are in fact
closed in, the State of New York.

              “Capitalized Lease” means any lease the obligations to pay rent or other amounts
under which constitute Capitalized Lease Obligations.




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               “Capitalized Lease Obligations” means, as to any Person, the obligations of such
Person to pay rent or other amounts under a lease of (or other agreement conveying the right to
use) real and/or personal property which obligations are required to be classified and accounted
for as a capital lease on a balance sheet of such Person under GAAP and, for purposes of this
Agreement the amount of such obligations shall be the capitalized amount thereof determined in
accordance with GAAP.

               “Cash” means, as to any Person, such Person’s cash and cash equivalents, as
defined in accordance with GAAP.

               “CERCLA” means the Comprehensive Environmental Response, Compensation
and Liability Act of 1980, 42 U.S.C. 9601, et seq., as amended from time to time.

                “Closing” has the meaning ascribed thereto in Section 4.1.

                “Closing Date” has the meaning ascribed thereto in Section 4.1.

                “Code” means the Internal Revenue Code of 1986, as it may be amended from
time to time.

               “Collateral” means all of the assets and properties covered by each of the
respective Security Documents; provided, that there shall be excluded from the Collateral (a) any
obligation or property of any kind due from, owed by, or belonging to, a Sanctioned Person or
Sanctioned Entity or (b) any lease in which the lessee is a Sanctioned Person or Sanctioned
Entity.

                “Commitment” means the obligation of the Bank to make Line of Credit Loans or
Revolving Credit Loans hereunder contained in Sections 2.1(a) and 2.1(b) respectively but
subject to the terms and conditions hereof.

                “Commitment Fee” has the meaning ascribed thereto in Section 2.8.

                “Compliance Certificate” means a certificate executed by the president or chief
financial officer of the Borrower in the form of Exhibit B hereto and to the effect that: (i) as of
the effective date of the certificate, no Default or Event of Default under this Agreement exists or
would exist after giving effect to the action intended to be taken by the Borrower as described in
such certificate, including, without limitation, that the covenants set forth in Section 6.9 hereof
would not be breached after giving effect to such action, together with a calculation in reasonable
detail, and in form satisfactory to the Bank, of such compliance, and (ii) the representations and
warranties contained in Article 3 hereof are true and with the same effect as though such
representations and warranties were made on the date of such certificate, except for changes in
the ordinary course of business none of which, either singly or in the aggregate, have had a
Material Adverse Effect on the Borrower.

               “Consolidated” shall mean, when used with reference to financial statements or
financial statement items of the Loan Parties and their Subsidiaries or any other Person, such
statements or items on a consolidated basis in accordance with the consolidation principles of
GAAP.


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              “Consolidated Funded Debt” shall mean, as of any date of determination, Funded
Debt of the Loan Parties and their Subsidiaries on a Consolidated basis.

                  “Conversion Notice” has the meaning ascribed thereto in Section 2.2.

                  “Danielle Bouchard Co.” means Tug Danielle M. Bouchard Corp., a New York
corporation.

                  “Debt Instrument” has the meaning ascribed thereto in subsection 8.4(a).

               “Default” means an event which with notice or lapse of time, or both, would
constitute an Event of Default.

                  “Discharge” has the meaning set forth in section 1001(7) of OPA.

                “Disposal” means the discharge, deposit, injection, dumping, spilling, leaking or
placing of any hazardous materials into or on any land or water so that such hazardous materials
or constituent thereof may enter the environment or be emitted into the air or discharged into any
waters, including ground waters.

               “DOC” means a document of compliance issued to an Operator in accordance
with rule 13 of the ISM Code;

                  “Dollars” and “$” means lawful money of the United States of America.

                  “Earnings Assignment(s)” has the meaning ascribed thereto in subsection
2.15(a)(ii)(B).

                “EBITDA” means, as to any Person, for any period, (a) the net income (exclusive
of income from extraordinary events) of such Person before all income taxes paid or payable by
such Person with respect to such period plus, but only to the extent such items shall have been
deducted in determining such net income (b) the sum (without duplication) of (i) depreciation
and amortization of assets, including goodwill and other intangible assets plus (ii) interest
payable to other than related Persons plus (iii) maintenance and repair costs for vessels owned by
the Loan Parties and their Affiliates that are in excess of $8,000,000 per fiscal quarter; provided,
that such maintenance and repair costs are in excess of such Person’s planned maintenance and
repair costs for such period, unusual or unexpected and incurred in the ordinary course of
business; as to all of the foregoing, as determined in accordance with GAAP.

              “Employee Benefit Plan” means any employee benefit plan within the meaning of
section 3(3) of ERISA which (a) is maintained for employees of the Borrower or any of its
ERISA Affiliates or (b) has at any time within the preceding six (6) years been maintained for
employees of any Loan Party or any current or former ERISA Affiliate.

              “Environmental Laws and Regulations” means all federal, state, local and foreign
environmental, health and safety laws, regulations, ordinances, orders, judgments, permits,
concessions, grants, franchises, licenses, agreements, decrees or governmental restrictions



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applicable to the Borrower or any other Loan Party, or any of their respective assets or
properties.

                “Environmental Liability” means any OPA Liability or any liability under any
applicable Environmental Laws and Regulations for any disposal, Release or threatened release
of a Hazardous Substance pollutant or contaminant as those terms are defined under CERCLA,
and any liability which would require a removal, remedial or response action, as those terms are
defined under CERCLA, by any Person or any environmental regulatory body having
jurisdiction over the Borrower or any other Loan Party and/or any liability arising under any
Environmental Laws and Regulations for the Borrower’ or any other Loan Party’s failure to
comply with such laws and regulations, including without limitation, the failure to comply with
or obtain any applicable environmental permit.

               “Environmental Proceeding” means any judgment, action, proceeding or
investigation pending before any court or governmental authority, with respect to a Borrower or
any other Loan Party and arising under or relating to any Environmental Laws and Regulations.

            “ERISA” means the Employee Retirement Income Security Act of 1974, as it
may be amended from time to time, and the regulations promulgated thereunder.

                “ERISA Affiliate” means, with respect to any Loan Party, any corporation, person
or trade or business which is a member of a group which is under common control with any Loan
Party, who together with any Loan Party, is treated as a single employer within the meaning of
sections 414(b) - (o) of the Code and, if applicable, sections 4001(a)(14) and (b) of ERISA.

               “Eurodollar Business Day” means a Business Day on which dealings in Dollar
deposits are conducted by and between banks in the London interbank eurodollar market.

                “Eurodollar Loan” means Loans the interest on which is determined on the basis
of the rate referred to in the definition of LIBOR in this Article 1.

               “Eurodollar Rate” means for any Eurodollar Loan for any Interest Period therefor,
the rate per annum (rounded upwards, if necessary, to the nearest 1 / 100 of 1 %) determined by
the Bank to be equal to (a) the LIBOR for such Loan for such Interest Period; divided by (b) 1
minus the Reserve Requirement for such Loan for such Interest Period. The Bank shall use its
commercially reasonable best efforts to advise the Borrower of the Eurodollar Rate as soon as
practicable after each change in the Eurodollar Rate; provided, however, that the failure of the
Bank to so advise the Borrower on any one or more occasions shall not affect the rights of the
Bank or the obligations of the Borrower hereunder.

                “Evening Star Co.” means Tug Evening Star Corp., a New York corporation.

                “Event of Default” has the meaning ascribed thereto in Article 8.

                “FDIC” means the Federal Deposit Insurance Corporation or any successor
organization.




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               “Financial Statements” means the audited Consolidated Balance Sheets of
Borrower and its Subsidiaries, as at December 31, 2010, 2011 and 2012, together with the related
audited Consolidated Income Statement and Statement of Changes in Cash Flow for the fiscal
years then ended.

               “Funded Debt” shall mean, with respect to any Person, without duplication, all
Indebtedness of such Person.

                “GAAP” means generally accepted accounting principles in the United States set
forth in the opinions and pronouncements of the Accounting Principles Board and the American
Institute of Certified Public Accountants and statements and pronouncements of the Financial
Accounting Standards Board or such other principles as may be approved by a significant
segment of the accounting profession in the United States, that are applicable to the
circumstances as of the date of determination, consistently applied.

               “Governmental Authority” means the government of the United States of America
or any other nation, or of any political subdivision thereof, whether state or local, and any
agency, authority, instrumentality, regulatory body, court, central bank or other entity exercising
executive, legislative, judicial, taxing, regulatory or administrative powers or functions of or
pertaining to government (including any supra-national bodies such as the European Union or
the European Central Bank).

               “Guarantor” shall mean each of B No. 210 Co., B No. 215 Co., B No. 225 Co., B
No. 245 Co., B No. 250 Co., B No. 260 Co., Brendan Bouchard Co., Danielle Bouchard Co.,
Evening Star Co., Jane Co., and “Guarantors” shall collectively refer to all of them. For the
avoidance of any doubt, the only Guarantors are the Persons named in the preceding sentence,
and no other Person shall be a Guarantor unless such Person agrees in writing to be joined as a
Guarantor to the Loan Documents. Without limiting the generality of the foregoing sentence, no
trust and no natural Person, including, without limitation, Morton S. Bouchard, III, any member
of the family of Morton S. Bouchard, III or any trust controlled by any of them is a Guarantor.

               “Guaranty(ies)” has the meaning ascribed thereto in Section 2.14.

              “Hazardous Materials” means any toxic chemical, Hazardous Substances,
contaminants or pollutants, medical wastes, infectious wastes, or hazardous wastes.

              “Hazardous Substance” has the meaning set forth in section 101(14) of CERCLA
or comparable provisions of state or local law.

                “Hazardous Waste” has the meaning set forth in the Resource Conservation and
Recovery Act, 42 U.S.C. ‘9603(5), and the Environmental Protection Agency’s implementing
regulations, or state or local law.

                “Indebtedness” means, as to any Person at a particular time, without duplication,
all of the following, whether or not included as indebtedness or liabilities in accordance with
GAAP:

               (a)    all obligations of such Person for borrowed money;


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               (b)     all obligations of such Person to pay the deferred purchase price of
property or services (other than trade accounts payable in the ordinary course of business);

                (c)   all obligations of such Person evidenced by bonds, debentures, notes or
other similar instruments;

               (d)     indebtedness (including prepaid interest thereon) secured by a Lien on
property owned or being purchased by such Person (including indebtedness arising under
conditional sales or other title retention agreements), whether or not such indebtedness shall have
been assumed by such Person or is limited in recourse;

                  (e)    Capitalized Leases;

               (f)     all obligations, contingent or otherwise, of such Person as an account party
or applicant in respect of letters of credit (and bankers’ acceptances, bank guaranties, surety
bonds and similar instruments) created for the account or upon the application of such Person;

               (g)     all obligations of such Person to purchase, redeem, retire, defease or
otherwise make any payment in respect of any equity interest in such Person or any other Person,
valued, in the case of a redeemable preferred interest, at the greater of its voluntary or
involuntary liquidation, plus accrued and unpaid dividends;

                  (h)    all guarantees (direct or indirect) of such Person in respect of any of the
foregoing; and

               (i)   all liabilities which would be reflected on a balance sheet of such Person,
prepared in accordance with GAAP.

         For purposes hereof, the Indebtedness of any Person shall include the Indebtedness of any
partnership or joint venture (other than a joint venture that is itself a corporation or limited
liability company) in which such Person is a general partner or a joint venturer, unless such
Indebtedness is expressly made non-recourse to such Person. The amount of any Capital Lease
as of any date shall be deemed to be the amount of Attributable Indebtedness in respect thereof
as of such date.

                  “Insurance Assignments” has the meaning ascribed thereto in subsection
2.15(a)(ii)(C).

                  “Interest Period” shall mean, with respect to any Eurodollar Loan,

              (a)     initially, the period commencing on the date on which such Eurodollar
       Loan is made or converted, as the case may be, with respect to such Eurodollar Loan and
       ending one, two, three, six, or twelve months thereafter, subject to availability to the
       Bank, as selected by the Borrower in the Borrowing Notice or Conversion Notice given
       with respect thereto; and

              (b)     thereafter, each period commencing on the last day of the immediately
       preceding Interest Period applicable to such Eurodollar Loan and ending one, two, three,


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       six, or twelve months thereafter, subject to availability to the Bank, as selected by the
       Borrower by irrevocable notice to the Bank prior to the last Eurodollar Business Day of
       the then current Interest Period with respect thereto; provided that the foregoing
       provisions are subject to the following:

                     (i)     if any Interest Period pertaining to a Eurodollar Loan would
              otherwise end on a day that is not a Business Day, such Interest Period shall be
              extended to the next succeeding Business Day unless the result of such extension
              would be to carry such Interest Period into another calendar month in which event
              such Interest Period shall end on the immediately preceding Business Day;

                      (ii)   any Interest Period pertaining to a Eurodollar Loan that begins on
              the last Business Day of a calendar month (or on a day for which there is no
              numerically corresponding day in the calendar month at the end of such Interest
              Period) shall end on the last Business Day of the relevant calendar month;

                      (iii) if the Borrower shall fail to give notice as provided above, the
              Borrower shall be deemed to have selected a Prime Rate Loan to replace the
              affected Eurodollar Loan;

                     (iv)   no Interest Period in respect of any Loan shall extend beyond the
              applicable Maturity Date; and

                      (v)     no more than twenty (20) Eurodollar Loans may be in effect at any
              time. For purposes hereof, Eurodollar Loans with different Interest Periods shall
              be considered as separate Eurodollar Loans, even if they shall begin on the same
              date and have the same duration, although borrowings, extensions and
              conversions may, in accordance with the provisions hereof, be combined at the
              end of existing Interest Periods to constitute a new Eurodollar Loan with a single
              Interest Period.

              “Investment” means, in respect of any Person:

                (a)     the amount paid or committed to be paid, or the value of property or
services contributed or committed to be contributed, by such Person for or in connection with the
acquisition by such Person of any stock, bonds, notes, debentures, partnership or other ownership
interests or other securities of any other Person; and

                (b)    the amount of any advance, loan or extension of credit by such Person, to
any other Person, or guaranty or other similar obligation of such Person with respect to any
Indebtedness of such other Person, and (without duplication) any amount committed to be
advanced, loaned, or extended by such Person to any other Person, or any amount the payment of
which is committed to be assured by a guaranty or similar obligation by such Person for the
benefit of, such other Person.

              “IRS” means the Internal Revenue Service.



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               “ISM Code” shall mean the International Safety Management Code for the Safe
Operating of Ships and for Pollution Prevention constituted pursuant to Resolution A.741(18) of
the International Maritime Organization and incorporated into the Safety of Life at Sea
Convention and includes any amendments or extensions thereto and any regulation issued
pursuant thereto.

               “ISPS Code” shall mean the International Ship and Port Facility Code adopted by
the International Maritime Organization at a conference in December 2002 and amending
Chapter XI of the Safety of Life at Sea Convention and includes any amendments or extensions
thereto and any regulation issued pursuant thereto.

              “ISSC” shall mean the International Ship Security Certificate issued pursuant to
the ISPS Code.

               “Jane Co.” means Tug Jane A. Bouchard Corp., a New York corporation.

               “Leases” means leases and subleases (other than Capitalized Leases), licenses for
the use of real property, easements, grants, and other attachment rights and similar instruments
under which a Borrower has the right to use real or personal property or rights of way.

                “LIBOR” means with respect to any Eurodollar Loan for any Interest Period
therefor, the rate per annum (rounded upwards, if necessary, to the nearest 1/100 of 1%) appearing
on Reuters Screen LIBOR01 Page (or any successor page) as the London interbank offered rate for
deposits in Dollars at approximately 11:00 A.M. (London time) two (2) Business Days prior to the
first day of such Interest Period for a term comparable to such Interest Period. If for any reason
such rate is not available, then “LIBOR” shall mean the rate per annum at which, as determined
by the Bank in accordance with its customary practices, Dollars in an amount comparable to the
Loans then requested are being offered to leading banks at approximately 11:00 A.M. London
time, two (2) Business Days prior to the commencement of the applicable Interest Period for
settlement in immediately available funds by leading banks in the London interbank market for a
period equal to the Interest Period selected.

               “Lien” means any mortgage, deed of trust, pledge, hypothecation, assignment,
deposit arrangement, security interest, encumbrance, lien (statutory or otherwise), charge,
preference, priority or other preferential arrangement in the nature of a security interest of any
kind (including any agreement to give any of the foregoing), any conditional sale or other title
retention agreement, any lease in the nature of any of the foregoing, and the filing of or
agreement to give any financing statement under the Uniform Commercial Code of any
jurisdiction.

               “Loan(s)” means the Loans described in Section 2.1 hereof.

               “Loan Documents” means this Agreement, the Note, the Guaranties, the Security
Documents and all other documents executed and delivered in connection herewith or therewith,
including all amendments, modifications and supplements of or to all such documents.

              “Loan Party” means the Borrower, any Guarantor and any other Person (other
than the Bank) which now or hereafter executes and delivers to the Bank any Loan Document.


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               “Loss” has the meaning ascribed thereto in subsection 2.6(a)(i).

               “Management Fees” means, for any period, all fees, emoluments or similar
compensation paid or incurred by any Person (other than any such fees, emoluments or similar
compensation paid to or incurred and payable to the Borrower) in respect of services rendered in
connection with the management or supervision of the management of such Person, or the
construction, operation and maintenance of the Vessels operated by the Borrower, other than
salaries, bonuses and other compensation paid to any full-time executive employee in respect of
such full-time employment.

                “Material Adverse Effect” means, with respect to any Person, a material adverse
effect on: (a) the business, condition (financial or otherwise), assets, liabilities or operations of
such Person, (b) the ability of such Person to perform its obligations under any Loan Document
to which it is a party, or (c) the validity or enforceability of this Agreement or the other Loan
documents or the rights or remedies of the Bank hereunder or thereunder.

             “Maturity Date” means the earliest of (i) October 30, 2018 and (ii) the date on
which any Loans hereunder shall become due and payable as described in Article 8 hereof.

               “Multiemployer Plan” means a “multiemployer plan” as defined in Section
4001(a)(3) of ERISA to which any Loan Party or any ERISA Affiliate is making, or is accruing
an obligation to make, contributions or has made, or been obligated to make, contributions
within the preceding six (6) years.

               “New Type Loans” has the meaning ascribed thereto in Section 2.20.

               “Note” shall mean the promissory note described in Section 2.1 hereof.

               “Obligations” means, collectively, all of the Indebtedness, liabilities and
obligations of the Borrower to the Bank, whether now existing or hereafter arising, whether or
not currently contemplated, including, without limitation, those arising under the Loan
Documents.

              “OFAC” shall mean the U.S. Department of the Treasury’s Office of Foreign
Assets Control.

               “OPA” means the Oil Pollution Act of 1990, 33 U.S.C. ‘2701 et, seq., as amended
from time to time.

               “OPA Liability” means any liability for any Discharge or any substantial threat of
a Discharge, as those terms are defined under OPA, and any liability for removal, removal costs
and damages, as those terms are defined under OPA, by any Person or any environmental
regulatory body having jurisdiction over the Borrower or any other Loan Party.

               “Patriot Act” shall mean the Uniting and Strengthening America by Providing
Appropriate Tools Required to Intercept and Obstruct Terrorism (USA PATRIOT ACT) Act of
2001 (Title III of Pub. L. No. 107-56 (signed into law October 26, 2001)), as amended or
modified from time to time.


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                “Payment Date” means (a) as to any Prime Rate Loan, the last Business Day of
each March, June, September and December and on the applicable Maturity Date, (b) as to any
Eurodollar Loan having an Interest Period of three months or less, the last day of such Interest
Period, (c) as to any Eurodollar Loan having an Interest Period longer than three months, (i) each
three (3) month anniversary following the first day of such Interest Period and (ii) the last day of
such Interest Period and (c) as to any Loan which is the subject of a mandatory prepayment
required pursuant to Section 2.6, the date on which such mandatory prepayment is due.

              “Payment Office” means the office of the Bank located at 58 S. Service Road,
Suite 100, Melville, NY 11747.

               “PBGC” means the Pension Benefit Guaranty Corporation.

                “Permitted Liens” means, as to any Person: (a) pledges or deposits by such Person
under workers’ compensation laws, unemployment insurance laws, social security laws, or
similar legislation, or good faith deposits in connection with bids, tenders, contracts (other than
for the payment of Indebtedness of such Person), or leases to which such Person is a party, or
deposits to secure public or statutory obligations of such Person or deposits of Cash or United
States Government Bonds to secure surety, appeal, performance, customs or other similar bonds
to which such Person is a party, or deposits as security for contested taxes or import duties or for
the payment of rent; (b) Liens imposed by law, such as carriers’, warehousemen’s, materialmen’s
and mechanics’ liens, or Liens arising out of judgments or awards against such Person with
respect to which such Person at the time shall currently be prosecuting an appeal or proceedings
for review; (c) Liens for taxes not yet subject to penalties for non-payment and Liens for taxes
the payment of which is being contested as permitted by Section 6.6; (d) minor survey
exceptions, minor encumbrances, easements or reservations of, or rights of, others for rights of
way, highways and railroad crossings, sewers, electric lines, telegraph and telephone lines and
other similar purposes, or zoning or other restrictions as to the use of real properties; (e) Liens
incidental to the conduct of the business of such Person or to the ownership of such Persons
property that were not incurred in connection with Indebtedness of such Person, all of which
Liens referred to in the preceding clause (e) do not in the aggregate materially detract from the
value of the properties to which they relate or materially impair their use in the operation of the
business taken as a whole of such Person, and as to all the foregoing only to the extent arising
and continuing in the ordinary course of business; (f) Liens in favor of the Bank; (g) the interest
of the shipyard in vessels being built for or retrofitted for Borrower or its Subsidiaries during the
period prior to delivery of the vessel(s) under the applicable contract; and (h) Liens otherwise
expressly permitted by this Agreement.

                “Person” means an individual, a corporation, a limited liability company, a
partnership, a joint venture, a trust or unincorporated organization, a joint stock company or
other similar organization, a Governmental Authority or any other legal entity, whether acting in
an individual, fiduciary or other capacity.

              “Post-Default Rate” means (a) in respect of the Loans, a rate per annum equal to
2% above the Prime Rate as in effect at the time of the Event of Default that resulted in the Post-
Default Rate being instituted and as in effect thereafter from time to time until such Event of
Default has been cured or waived by the Bank (but in no event less than the interest rate in effect


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on the due date); and (b) in respect of other amounts payable by the Borrower hereunder (other
than interest) not paid when due (whether at stated maturity, by acceleration or otherwise), a rate
per annum during the period commencing on the due date until such other amounts are paid in
full equal to 2% above the Prime Rate as in effect at the time of the due date and as in effect
thereafter from time to time (but in no event less than the interest rate in effect on the due date).

                “Prime Rate” means at any time, the rate of interest per annum publicly
announced or otherwise identified from time to time by Wells Fargo Bank, National Association
at its principal office in Charlotte, North Carolina as its prime rate. Each change in the Prime
Rate shall be effective as of the opening of business on the day such change in the Prime Rate
occurs. The parties hereto acknowledge that the rate announced publicly by Wells Fargo,
National Association as its Prime Rate is an index or base rate and shall not necessarily be its
lowest or best rate charged to its customers or other banks.

               “Prime Rate Loans” means Loans that bear interest at a rate based on the Prime
Rate.

              “Principal Office” means the principal office of the Bank presently located at 58
S. Service Road, Suite 100, Melville, NY 11747.

               “Purchase Money Security Interest” has the meaning ascribed thereto in
subsection 7.2(b)(iii).

              “Quarterly Dates” means the last day of each March, June, September and
December, provided that, if any such date is not a Eurodollar Business Day, the relevant
Quarterly Date shall be the next succeeding Eurodollar Business Day (or, if the next succeeding
Eurodollar Business Day falls in the next succeeding calendar month, then on the next preceding
Eurodollar Business Day).

             “Regulation D” means Regulation D of the Board of Governors of the Federal
Reserve System, as the same may be amended or supplemented from time to time.

                “Regulatory Change” means any change after the date of this Agreement in
United States federal, state or foreign laws or regulations or the adoption or making after such
date of any interpretations, directives or requests applying to a class of banks, including the
Bank, of or under any United States federal, state or foreign laws or regulations (whether or not
having the force of law) by any court or governmental or monetary authority charged with the
interpretation or administration thereof; provided, that notwithstanding anything herein to the
contrary, (i) the Dodd-Frank Wall Street Reform and Consumer Protection Act and all requests,
rules, guidelines or directives thereunder or issued in connection therewith and (ii) all requests,
rules, guidelines or directives promulgated by the Bank for International Settlements, the Basel
Committee on Banking Supervision (or any successor or similar authority) or the United States
or foreign regulatory authorities, in each case pursuant to Basel III, shall in each case be deemed
to be a “Regulatory Change”, regardless of the date enacted, adopted or issued.

               “Release” has the meaning set forth in section 10 1(22) of CERCLA or state or
local law.



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                 “Reserve Requirement” means, for any day, the percentage (expressed as a
decimal and rounded upwards, if necessary, to the next higher 1/100th of 1%) which is in effect
for such day as prescribed by the Board of Governors of the Federal Reserve System (or any
successor) for determining the maximum reserve requirement (including, without limitation, any
basic, supplemental or emergency reserves) in respect of Eurocurrency liabilities (as defined in
Regulation D of such Board as in effect from time to time) or any similar category of liabilities
for a member bank of the Federal Reserve System in New York City. Without limiting the effect
of the foregoing, the Reserve Requirement shall reflect any other reserves required to be
maintained by such member banks by reason of any Regulatory Change against: (a) any category
of liabilities that includes deposits by references to which the Eurodollar Rate for Eurodollar
Loans is to be determined as provided in the definition of “LIBOR” in this Article 1, or (b) any
category of extensions of credit or other assets that include Eurodollar Loans.

                “Sanctioned Entity” shall mean (a) a country or a government of a country, (b) an
agency of the government of a country, (c) an organization directly or indirectly controlled by a
country or its government, or (d) a person or entity resident in or determined to be resident in a
country, that is subject to a country sanctions program administered and enforced by OFAC.

             “Sanctioned Person” shall mean a person named on the list of Specially
Designated Nationals maintained by OFAC.

               “Security Documents” has the meaning ascribed thereto in subsection 2.15(c).

               “Ship Mortgage and Ship Mortgages” have the meanings ascribed thereto in
subsection 2.15(a)(ii)(A).

              “Shipping Act” means the Shipping Act of 1916, as amended and consolidated at
46 U.S.C. §55101.

              “SMC” means the safety management certificate issued in respect of a Vessel in
accordance with Rule 13 of the ISM Code.

               “Subsidiary” means, with respect to any Person, any corporation, limited liability
company, partnership, joint venture or other business entity whether now existing or hereafter
organized or acquired: (a) in the case of a corporation or limited liability company, of which a
majority of the shares of securities or other interests having ordinary voting power for the
election of directors or other governing body (other than securities or interests having such
power only by reason of the happening of a contingency) are at the time beneficially owned by
such Person and/or one or more Subsidiaries of such Person, or the management of which is
otherwise controlled, directly or indirectly through one or more intermediaries, by such Person,
or (b) in the case of a partnership or joint venture in which such Person is a general partner or
joint venturer or of which a majority of the partnership or other ownership interests are at the
time beneficially owned by such Person and/or one or more of its Subsidiaries, or the
management of which is otherwise controlled, directly or indirectly through one or more
intermediaries, by such Person. Unless the context otherwise requires, references in this
Agreement to “Subsidiary” or “Subsidiaries” shall be deemed to be references to a Subsidiary or
Subsidiaries of the Borrower.



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               “Tangible Net Worth” means, as to any Person, the sum of capital surplus, earned
surplus and capital stock, minus deferred charges, intangibles and treasury stock, all as
determined in accordance with GAAP.

                “Total Leverage Ratio” shall mean, as of any date of determination, for the Loan
Parties and their Subsidiaries on a Consolidated basis, the ratio of (a) Consolidated Funded Debt
on such date to (b) EBITDA for the four (4) consecutive quarters ending on such date.

               “Trading with the Enemy Act” has the meaning ascribed thereto in subsection
3.21.

               “Unused Commitment” means the aggregate principal amount of Loans which, at
any time, remain available to Borrower pursuant to Section 2.1 hereof to be borrowed subject to
the terms and conditions hereof.

               “Vessels” means, collectively, the barges and tugs named as follows: the B No.
210 (Official Number 1037844), the B No. 215 (Official Number 1064767), the B No. 225
(Official Number 1139764), the B. No. 245 (Official Number 1050073), the B. No. 250 (Official
Number 1235496), the B. No. 260 (Official Number 1210060), the Evening Star (Official
Number 1234828), the Danielle M. Bouchard (Official Number 1053010), the Jane A. Bouchard
(Official Number 1139762), and the Brendan J. Bouchard (Official Number 1086926), and any
other tug or barge which shall be or become subject to the Bank’s Lien pursuant hereto and,
individually, “Vessel” means any of them.

        Section 1.2    Accounting Terms.

        Any accounting terms used in this Agreement that are not specifically defined herein
shall have the meanings customarily given to them in accordance with GAAP as in effect on the
date of this Agreement, except that references in Article 5 to such principles shall be deemed to
refer to GAAP as in effect on the date of the financial statements delivered pursuant thereto.

        Section 1.3    Certain Interpretations.

        The definitions set forth in Section 1.1 shall be equally applicable to both the singular and
plural forms of the defined terms. The words “herein”, “hereof” and words of similar import as
used in this Agreement shall refer to this Agreement as a whole and not to any particular
provision in this Agreement. Unless specifically stated to the contrary, all references to
“Sections”, “subsections,” “paragraphs,” “Exhibits” and “Schedules” in this Agreement shall
refer to Sections, subsections, paragraphs, Exhibits and Schedules of this Agreement unless
otherwise expressly provided; references to Persons include their respective permitted successors
and assigns or, in the case of Governmental Authorities, Persons succeeding to the relevant
functions of such persons; and all references to statutes and related regulations shall include any
amendments of same and any successor statutes and regulations.

                                            Article 2.
                                         Loans; Collateral

        Section 2.1    Loans.


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               (a)   Subject to the terms and conditions of this Agreement, the Bank hereby
agrees to make revolving credit loans to the Borrower in an aggregate principal amount
outstanding at any one time of One Hundred Million and No/100 Dollars ($100,000,000.00) as
follows:

                    (i)      The Bank shall make Loans to the Borrower during the period
       from the Closing Date to a date not later than the date occurring 30 days prior to the
       Maturity Date, in accordance with the procedure set forth in subsection 2.1(b) hereof.

                      (ii)   During the period from the making of each such Loan to the
       Maturity Date, the Borrower may convert each such Loan from one type into a Loan of
       another type (as provided in Section 2.16), provided, however, that no such Loan shall
       have an Interest Period which would terminate later than the Maturity Date and if, by
       reason of a Conversion Notice or otherwise, the type of such Loan would be such that its
       Interest Period would end on a date subsequent thereto, the Borrower shall elect that such
       Loan be a Prime Rate Loan.

                (b)     The Borrower shall give the Bank written notice of each borrowing of
each Loan (in each case, a “Borrowing Notice”). Each Borrowing Notice shall be irrevocable
and shall be effective only if received by the Bank not later than 4:00 p.m., New York City time,
on the date of the related borrowing. Each Borrowing Notice shall (i) specify the amount
(subject to the limitations set forth in subsection 2.1(a)) and the type of Loan to be borrowed, the
date of borrowing (which shall be: (x) a Business Day in the case of each borrowing of a Prime
Rate Loan and (y) a Eurodollar Business Day in the case of each borrowing of a Eurodollar
Loan) and the duration of the initial Interest Period if such Loan is to be a Eurodollar Loan and
(2) be accompanied by the certificates and documents set forth in Section 4.3.

       Section 2.2     Notices Relating to Loans.

        The Borrower shall, except as provided in Section 4.2 hereof, give the Bank written
notice of each conversion and prepayment of each Loan and of the duration of each Interest
Period applicable to each Loan (in each case, a “Conversion Notice”). Each Conversion Notice
shall be irrevocable and shall be effective only if received by the Bank not later than 4:00 p.m.,
New York City time, on the date that is:

               (a)    in the case of each notice of termination, reduction or prepayment of, or
conversion into, Prime Rate Loans, the date (which shall be a Business Day) of the related
termination, reduction, prepayment or conversion; and

                (b)  In the case of each notice of prepayment of, or conversion into, Eurodollar
Loans, or the duration of an Interest Period for Eurodollar Loans, the date (which shall be a
Eurodollar Business Day) of the related prepayment, or conversion or the first day of such
Interest Period.

Each Conversion Notice of termination or reduction shall specify the amount thereof. Each such
notice of conversion or prepayment shall specify the amount and type of Loans to be converted
or prepaid (and, in the case of a conversion, the type of Loans to result from such conversion),
the date of conversion or prepayment (which shall be: (i) a Business Day in the case of each


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conversion or prepayment of Prime Rate Loans, and (ii) a Eurodollar Business Day in the case of
each conversion or prepayment of Eurodollar Loans and each conversion of or into a Eurodollar
Loan). Each such notice of the duration of an Interest Period shall specify the Loans to which
such Interest Period is to relate.

       Section 2.3    Disbursement of Loan Proceeds.

       The Borrower shall give the Bank notice of each borrowing hereunder as provided in
subsection 2.1(b). Not later than 4:00 p.m., New York City time, on the date specified for each
borrowing hereunder, the Bank shall disburse the amount of such Loan to Borrower by
depositing the amount thereof in an account of the Borrower as designated by the Borrower,
provided that on the Closing Date the proceeds of loans shall be disbursed so as to comply with
subsection 4.2(i) hereof.

       Section 2.4    Note.

       The Loans shall be evidenced by a single promissory note (the “Note”) of the Borrower
payable to the Bank and dated the Closing Date. The Note shall be in the principal amount of
One Hundred Million and No/100 Dollars ($100,000,000.00) and shall be in the form of Exhibit
A annexed hereto.

       Section 2.5    Repayment of Principal of Loans.

               (a)   The aggregate principal amount of the Loans shall be payable in one
installment on the Maturity Date in the full amount of the principal balance thereof outstanding
on such date.

                (b)    Any prepayment of less than the entire outstanding principal balance of
the Loans (other than those resulting from a Loss described in Section 2.6) shall be applied (i)
first to the payment of all accrued interest on the amount so prepaid to and including the date of
prepayment, (ii) second to the payment of any amounts due in respect of such Loans being repaid
other than principal and interest, and (iii) third to the payment of principal under the Loans
(provided, that, except as set forth in Section 2.17, 2.18 and 2.20, all payments and repayments
made pursuant to the terms hereof in respect of the Note shall be applied first to Prime Rate
Loans outstanding thereunder, and shall be applied to Eurodollar Loans only to the extent any
such payment exceeds the principal amount of Prime Rate Loans outstanding on such Note at the
time of such payment).

               (c)     If an Event of Default exists, notwithstanding the preceding sentence or
any other provisions of this Agreement to the contrary, all amounts collected or received by the
Bank on account of the Obligations or any other amounts outstanding under any of the Loan
Documents or in respect of the Collateral shall be paid over or delivered as follows (irrespective
of whether the following costs, expenses, fees, interest, premiums, scheduled periodic payments
or Obligations are allowed, permitted or recognized as a claim in any proceeding resulting from
the occurrence of a bankruptcy, insolvency or similar proceeding):

        FIRST, to the payment of all out of pocket costs and expenses (including, without
limitation, reasonable attorneys’ fees) of the Bank in connection with enforcing its rights under


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the Loan Documents and any protective advances made by the Bank with respect to the
Collateral under or pursuant to the terms of the Security Documents;

       SECOND, to the payment of any fees owed to the Bank;

        THIRD, to the payment of all of the Obligations consisting of accrued fees and interest,
and including, with respect to any interest rate hedging or similar transaction with the Bank or an
Affiliate thereof, any fees, premiums and scheduled periodic payments due under such
agreement and any interest accrued thereon;

        FOURTH, to the payment of the outstanding principal amount of the Obligations, and
including with respect to any interest rate hedging or similar transaction with the Bank or an
Affiliate thereof, any breakage, termination or other payments due under such agreement and any
interest accrued thereon;

       FIFTH, to all other Obligations and other obligations which shall have become due and
payable under the Loan Documents or otherwise and not repaid pursuant to clauses “FIRST”
through “FOURTH” above; and

       SIXTH, to the payment of the surplus, if any, to whoever may be lawfully entitled to
receive such surplus.

       Section 2.6    Mandatory and Voluntary Prepayments.

                (a)     (i) In the event of an actual, constructive, agreed or compromised total loss
       of, or requisition of title to, or seizure or forfeiture of, one or more Vessels (a “Loss”), the
       Borrower may, at its option: (A) prepay the Loans in an amount equal to the agreed value
       of each Vessel subject to a Loss as set forth on Schedule 3.5, on the earlier of: (x) the one
       hundred twentieth (120th) day following the Loss of such Vessel(s); or (y) the date on
       which payment is received of the amount payable as a result of such Loss or (B) no later
       than thirty (30) days after such Loss shall have occurred, assign and pledge to the Bank
       additional collateral to secure the due payment of the Obligations by granting, or causing
       to be granted, to the Bank, with respect to an additional Lien free barge, tug or other
       vessel or vessels having an aggregate value (as determined by the Bank in its sole
       discretion) at least equal to the agreed value (as set forth on Schedule 3.5) of the Vessel or
       Vessels subject to such Loss: (x) a first preferred ship mortgage substantially in the form
       of the Ship Mortgages; (y) a first assignment covering the earnings and requisition
       compensation, if any, of each such barge, tug or other vessel, in substantially the form of
       the Earnings Assignment; and (z) a first assignment covering the insurances of each such
       barge, tug or other vessel in substantially the form of the insurance Assignment, and in
       each case otherwise in form and substance satisfactory to the Bank in its sole discretion;
       provided, however, that the Borrower only shall be permitted to elect to deliver such
       additional collateral in lieu of the repayment otherwise required by the preceding clause
       (A) hereof if, upon the delivery thereof, the Borrower shall then be in compliance with
       the requirements of Section 6.16 and no Event of Default shall have occurred and be
       continuing.




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               (ii)    An actual total loss of a Vessel shall be deemed to have occurred on the
       date that such Vessel is lost or, if the date of loss is unknown, the date on which such
       Vessel is last reported. A constructive total loss shall be deemed to have occurred on the
       date that notice of abandonment of a Vessel is given to the insurers of such Vessel,
       provided that a claim for total loss is admitted by such insurers or, if such insurers do not
       admit such claim, on the date that a total loss is subsequently adjudged to have occurred.
       An agreed or compromised total loss shall be deemed to have occurred on the date of
       such agreement or compromise.

               (iii)   Any such prepayment shall be made together with payment of accrued
       interest on the amount prepaid to and including the date of prepayment, without premium
       or penalty, but shall include any related breakage and termination costs and fees that are
       provided for in this Agreement (if any).

               (b)     The Borrower may, at its option, upon not less than thirty (30) days’ prior
       written notice to the Bank (which notice shall be irrevocable and specify which Loans are
       to be prepaid), prepay the aggregate outstanding principal amount of the Loans in full at
       any time, or in part from time to time without premium or penalty. Each such
       prepayment shall be in an amount equal to One Hundred Thousand Dollars ($100,000) or
       an integral multiple thereof, and shall be made together with a payment of all accrued
       interest on the principal amount prepaid to and including the date of prepayment.

              (c)      If at any time after the Closing Date, the sum of the aggregate principal
       amount of outstanding Loans shall exceed $100,000,000, the Borrower shall immediately
       prepay the Loans in an amount sufficient to eliminate such excess (such prepayment to be
       applied as set forth in subsection (e) below).

              (d)    The Borrower shall, from time to time, prepay the Loans to the extent
       required by Section 6.16 (such prepayment to be applied as set forth in subsection (e)
       below).

              (e)    Any prepayment of less than the entire outstanding principal balance of
       the Loans (other than those resulting from a Loss) shall be applied in accordance with
       Section 2.5

       Section 2.7    Interest.

         (a)      The Borrower shall pay to the Bank interest on the unpaid principal amount of
each Loan for the period commencing on the date of such Loan until such Loan shall be paid in
full, at the following rates per annum:

                      (i)    During such periods that such Loan is a Prime Rate Loan, at a rate
       equivalent to the Prime Rate plus the Applicable Margin; and

                      (ii)     During such periods that such Loan is a Eurodollar Loan, for each
       Interest Period relating thereto, the Eurodollar Rate for such Loan for such Interest Period
       plus the Applicable Margin.



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        (b)      Notwithstanding the foregoing, the Borrower shall pay interest on any Loan or
any installment thereof, and on any other amount payable by the Borrower hereunder (to the
extent permitted by law) which shall not be paid in full when due (whether at stated maturity, by
acceleration or otherwise) for the period commencing on the due date thereof until the same is
paid in full at the applicable Post-Default Rate.

        (c)     Except as provided in the next sentence, accrued interest on each Loan shall be
payable: (i) on the applicable Payment Date, and (ii) in the case of any Loan, upon the payment
or prepayment thereof or the conversion thereof into a Loan of another type (but only on the
principal so paid, prepaid or converted). Interest that is payable at the Post-Default Rate shall be
payable from time to time on demand of the Bank. Promptly after the establishment of any
interest rate provided for herein or any change therein, the Bank will notify the Borrower thereof,
provided that the failure of the Bank to so notify the Borrower shall not affect the obligations of
the Borrower hereunder or under the Note in any respect.

        (d)     Anything in this Agreement or the Note to the contrary notwithstanding, the
obligation of the Borrower to make payments of interest shall be subject to the limitation that
payments of interest shall not be required to be made to the Bank to the extent that the Bank’s
receipt thereof would not be permissible under the law or laws applicable to the Bank limiting
rates of interest which may be charged or collected by the Bank. Any such payments of interest
which are not made as a result of the limitation referred to in the preceding sentence shall be
made by the Borrower to the Bank on the earliest interest payment date or dates on which the
receipt thereof would be permissible under the laws applicable to the Bank limiting rates of
interest which may be charged or collected by the Bank. Such deferred interest shall not bear
interest.

       Section 2.8     Commitment Fee.

       The Borrower shall pay by wire transfer initiated by the Borrower to the Bank (and not
automatically deducted by the Bank from the Borrower’s account(s) with the Bank) a
commitment fee (the “Commitment Fee”) on the daily average amount of the Unused
Commitment for the period from the Closing Date to and including the Maturity Date, at the rate
of twenty-five basis points (0.25%) per annum on the Unused Commitment. The accrued
Commitment Fee shall be payable quarterly on the last day of each March, June, September and
December of each year, commencing on the first such date after the Closing Date and on the
Maturity Date.

       Section 2.9     Computations.

        Interest payable hereunder with respect to any Prime Rate Loan shall be calculated on the
basis of a year of 365 days (or 366 days, as applicable) for the actual days elapsed. All other
fees, interest and all other amounts payable hereunder shall be computed on the basis of a year of
360 days and actual days elapsed (including the first day but excluding the last) occurring in the
period for which payable.

       Section 2.10 Minimum Amounts of Conversions, Prepayments and Interest Periods.




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        Except for conversions and prepayments that result in the conversion or prepayment of
all Loans of a particular type (in the case of conversions or prepayments) or conversions made
pursuant to Section 2.16, subsection 2.17(b) or Section 2.19, each conversion of Loans of one
type into Loans of another type and each prepayment of principal of Loans hereunder shall be in
an amount at least equal to Fifty Thousand Dollars ($50,000) in the case of Prime Rate Loans
and One Hundred Thousand Dollars ($100,000) in the case of Eurodollar Loans or an integral
multiple thereof (conversions and prepayments of different types of Loans at the same time
hereunder to be deemed separate conversions and prepayments for purposes of the foregoing,
one for each type).

       Section 2.11 Lending Offices.

       The Loans of each type made by the Bank shall be made and maintained at the Bank’s
Applicable Lending Office for Loans of such type.

       Section 2.12 Time and Method of Payments.

        All payments of principal, interest, fees and other amounts (including indemnities)
payable by the Borrower hereunder shall be made in Dollars, in immediately available funds, to
the Bank at the Payment Office not later than 4:00 p.m., New York City time, on the date on
which such payment shall become due (and the Bank may, but shall not be obligated to, debit the
amount of any such payment that is not made by such time to any ordinary deposit account of the
Borrower with the Bank). Additional provisions relating to payments are set forth in Section 9.3
hereof.

       Section 2.13 Use of Proceeds of Loans.

        The proceeds of the Loans shall be used by the Borrower for construction costs of new
vessels to be acquired by the Borrower or its Subsidiaries and/or related capital expenditures, for
the conversion by the Borrower and its Subsidiaries of existing single hull vessels into double
hull vessels, for working capital and for general corporate purposes. No portion of the proceeds
of any Loan shall be used, in whole or in part, for the purpose of purchasing or carrying any
“margin stock” as such term is defined in Regulation U of the Board of Governors of the Federal
Reserve System. As used in this Section 2.13, the term “working capital” means expenditures in
the ordinary course of business and does not include the payment of (or reimbursement of any
party for) fines, penalties or damages under Environmental Laws and Regulations or
Environmental Liabilities.

       Section 2.14 Guaranties.

        The due payment and performance of the Obligations shall be unconditionally guaranteed
to the Bank by each of the Guarantors by the execution and delivery to the Bank of a Guaranty in
the form of Exhibit C hereto (hereinafter referred to individually, together with any guaranty
executed and delivered before or after the date hereof, as a “Guaranty” and collectively as the
“Guaranties”).

       Section 2.15 Security.



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       (a)     In order to secure the due payment and performance by the Borrower of the
Obligations, the Borrower shall on or before the Closing Date:

       (A)     cause each Guarantor to execute and deliver to the Bank a preferred ship
               mortgage covering the Vessel owned by it in form and substance satisfactory to
               the Bank (each as amended, restated, supplemented or otherwise modified from
               time to time, a “Ship Mortgage” and collectively the “Ship Mortgages”);

       (B)     cause each Guarantor to execute and deliver to the Bank an assignment by such
               Guarantor covering the earnings and requisition compensation, if any, of such
               Vessel, in form and substance satisfactory to the Bank for the benefit of the
               Obligations hereunder (each, together with the earnings assignments referred to in
               subsection 2.15(b), as amended, restated, supplemented or otherwise modified
               from time to time, hereinafter sometimes referred to individually as an “Earnings
               Assignment” and together as the “Earnings Assignments”) and execute itself and
               deliver to the Bank a security assignment of the earnings and requisition
               compensation of the Vessels;

       (C)     cause each Guarantor to execute and deliver to the Bank an assignment by such
               Borrower covering the insurances of such Vessel, in form and substance
               satisfactory to the Bank for the benefit of the Obligations hereunder (each,
               together with the insurance assignments referred to in subsection 2.15(b), as
               amended, restated, supplemented or otherwise modified from time to time,
               hereinafter sometimes referred to individually as an Insurance Assignment” and
               together as the “Insurance Assignments”; the Earnings Assignments and the
               Insurance Assignments are hereinafter sometimes referred to individually as an
               “Assignment” and together as the “Assignments”); and

       (D)     cause each Guarantor to execute and deliver, or cause to be executed and
               delivered, such other agreements, instruments and documents as the Bank may
               reasonably require in order to effect the purposes of this subsection 2.15(a) and
               this Agreement, including a confirmation that any documents herein referred to
               that have already been executed and delivered remain in effect for the benefit of
               the Obligations hereunder.

        (b)    Each of the Ship Mortgages, Earnings Assignments and Insurance Assignments
referred to in Subsection 2.15(a) above shall constitute a first lien on the property covered
thereby.

        (c)     All of the agreements, documents and instruments provided for or referred to in
this Section 2.15 together with any and all agreements, instruments and documents executed and
delivered to the Bank by any Person in order to secure the due payment and performance by the
Borrower of the Obligations, including all amendments, modifications and restatements thereof
and all replacements and substitutions therefor, are hereinafter sometimes referred to collectively
as the “Security Documents”.

       Section 2.16 Conversions of Loans.



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        The Borrower shall have the right to convert Loans of one type into Loans of another
type from time to time, provided that: (i) the Borrower shall give the Bank notice of each such
conversion as provided in Section 2.2; (ii) Eurodollar Loans may be converted only on the last
day of an Interest Period for such Loans; and (iii) except as required by Sections 2.17 or 2.20
hereof, no Prime Rate Loan may be converted into a Eurodollar Loan if on the proposed date of
conversion a Default or an Event of Default exists, and provided, further, that no Loan may be
continued as or converted into a Eurodollar Loan if such Eurodollar Loan would have an Interest
Period ending after the Maturity Date for such loan or a portion thereof. The Bank shall use its
best efforts to notify the Borrower of the effectiveness of such conversion, and the new interest
rate to which the converted Loans are subject, as soon as practicable after the conversion;
provided, however, that any failure to give such notice shall not affect the Borrower’s
obligations, or the Bank’s rights and remedies, hereunder in any way whatsoever.

       Section 2.17 Additional Costs: Capital Requirements.

        (a)     Notwithstanding any other provision of this Agreement (but subject to subsection
2.17(d)), if after the date of this Agreement any Regulatory Change shall change the basis of
taxation of payments to the Bank (or any lending office) of the principal of or interest on any
Loan or any Fees or other amounts payable hereunder in respect of Eurodollar Loans (other than
taxes imposed on the overall net income of the Bank for any such Loans by the United States of
America), or shall impose, modify or deem applicable any reserve, special deposit or similar
requirement against assets of, deposits with or for the account of or credit extended by the Bank
(or any lending office) (except, in respect of Eurodollar Loans, any such reserve requirement
which is reflected in the Eurodollar Rate), or shall impose on the Bank, the London interbank
market or any other relevant market any other condition affecting this Agreement or any
Eurodollar Loan and the result of any of the foregoing shall be to increase the net cost to the
Bank of making or maintaining any Eurodollar Loan, or to reduce the amount of any sum
received or receivable by the Bank hereunder or under the Note (whether of principal, interest or
otherwise) by an amount deemed by the Bank to be material, then the Borrower will pay to the
Bank, within 15 days after receipt by the Borrower of a certificate referred to in subsection
2.17(c), such additional amount or amounts as will compensate the Bank for such additional net
costs incurred or reduction suffered.

        (b)    Subject to subsection 2.17(d), if the Bank shall have determined that the adoption
after the date hereof of, or any change after the date hereof in, any law, rule, regulation or
guideline regarding capital adequacy, or any change after the date hereof in the interpretation or
administration of any of the foregoing by any Governmental Authority, central bank or
comparable agency charged with the interpretation or administration thereof, or compliance by
the Bank (or any lending office) or the Bank’s holding company with any request or directive
regarding capital adequacy (whether or not having the force of law) of any such authority, central
bank or comparable agency, has or would have the effect of reducing the rate of return on the
Bank’s capital or on the capital of the Bank’s holding company, if any, as a consequence of this
Agreement or the Loans made pursuant hereto to a level below that which the Bank or the
Bank’s holding company could have achieved but for such adoption, change or compliance
(taking into consideration the Bank’s policies and the policies of the Bank’s holding company
with respect to capital adequacy) by an amount deemed by the Bank to be material, then from
time to time the Borrower shall pay, within 15 days after receipt by the Borrower of a certificate


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referred to in subsection 2.17(c), to the Bank such additional amount or amounts as will
compensate the Bank or the Bank’s holding company for any such reduction suffered.

        (c)    A certificate of the Bank setting forth such amount or amounts as shall be
necessary to compensate the Bank or its holding company, as applicable, as specified in
subsections 2.17(a) or (b), as the case may be, shall be delivered to the Borrower and shall be
conclusive absent manifest error. Any such certificate shall be accompanied by a notice
indicating the circumstances or event that resulted in such claim for compensation. The
Borrower shall pay to the Bank the amount shown as due on such certificate within 15 days after
receipt of such certificate by the Borrower. Failure on the part of the Bank to demand
compensation for any increased cost or reduction in amounts received or receivable or reduction
in return on capital with respect to any period shall not constitute a waiver of its right to demand
compensation with respect to such period or any other period.

        (d)    Notwithstanding any other provision of this Section 2.17, the Bank shall not be
entitled to compensation for any increased costs or reductions in amounts received or receivable
or reduction in return on capital under this Section 2.17 unless the Bank represents to the
Borrower that at the time it is the policy or general practice of the Bank to demand such
compensation for comparable costs or reductions, if any, in similar circumstances, if any, with
comparable provisions of other credit agreements for comparable customers.

       Section 2.18 Limitation on Types of Loans.

        Anything herein to the contrary notwithstanding, if, on or prior to the determination of an
interest rate for any Eurodollar Loans for any Interest Period therefor, the Bank determines
(which determination shall be conclusive):

              (a)      by reason of any event affecting the money markets in the United States of
America or the Eurodollar interbank market, quotations of interest rates for the relevant deposits
are not being provided in the relevant amounts or for the relevant maturities for purposes of
determining the rate of interest for such Loans under this Agreement; or

               (b)      the rates of interest referred to in the definition of “LIBOR” in Article 1
upon the basis of which the rate of interest on any Eurodollar Loans for such period is
determined, do not accurately reflect the cost to the Bank of making or maintaining such Loans
for such period, then the Bank shall give the Borrower prompt notice thereof (and shall thereafter
give the Borrower prompt notice of the cessation, if any, of such condition), and so long as such
condition remains in effect, the Bank shall be under no obligation to make new Loans of such
type or to convert Loans of any other type into new Loans of such type and the Borrower shall,
on the last day(s) of the then current Interest Period(s) for the outstanding Loans of the affected
type either prepay such Loans in accordance with Section 2.6 or convert such Loans into Loans
of another type in accordance with Section 2.16.

       Section 2.19 Illegality.

      Notwithstanding any other provision in this Agreement, in the event that it becomes
unlawful for the Bank or its Applicable Lending Office to: (i) honor its obligation to make
Eurodollar Loans hereunder, or (ii) maintain Eurodollar Loans hereunder, then the Bank shall


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promptly notify the Borrower thereof, describing such illegality in reasonable detail (and shall
thereafter promptly notify the Borrower of the cessation, if any, of such illegality), and the
Bank’s obligation to make Eurodollar Loans and to convert other types of Loans into Eurodollar
Loans hereunder shall, upon written notice given by the Bank to the Borrower, be suspended
until such time as the Bank may again make and maintain Eurodollar Loans and the Bank’s
outstanding Eurodollar Loans shall be converted into Prime Rate Loans in accordance with
Sections 2.16 and 2.20.

       Section 2.20 Certain Conversions pursuant to Sections 2.17 and 2.19.

        If the Loans of a particular type (Loans of such type are hereinafter referred to as
“Affected Loans” and such type is hereinafter referred to as the “Affected Type”) are to be
converted pursuant to Section 2.17 or 2.19, the Bank’s Affected Loans shall be converted into
Prime Rate Loans (the “New Type Loans”) on the last day(s) of the then current Interest
Period(s) for the Affected Loans (or, in the case of a conversion required by subsection 2.17(b)
or Section 2.19, on such earlier date as the Bank may specify to the Borrower) and, until the
Bank gives notice as provided below that the circumstances specified in Section 2.17 or 2.19 that
gave rise to such conversion no longer exist:

       (a)     to the extent that the Bank’s Affected Loans have been so converted, all payments
and prepayments of principal that would otherwise be applied to such Affected Loans shall be
applied instead to its New Type Loans; and

       (b)     all Loans that would otherwise be made by the Bank as Loans of the Affected
Type shall be made instead as New Type Loans and all Loans of the Bank that would otherwise
be converted into Loans of the Affected Type shall be converted instead into (or shall remain as)
New Type Loans.

       Section 2.21 Indemnification.

       The Borrower shall pay to the Bank, upon the request of the Bank, such amount or
amounts as shall compensate the Bank for any loss (including loss of profit), cost or expense
incurred by the Bank (as reasonably determined by the Bank) as a result of:

               (b)     any payment or prepayment or conversion of a Eurodollar Loan on a date
other than the last day of an Interest Period for such Eurodollar Loan, other than as a result of
any such prepayment or conversion required under Section 2.17 or 2.19; or

              (c)    any failure by the Borrower to borrow a Eurodollar Loan on the date for
such borrowing specified in the relevant Borrowing Notice under Section 2.1.

        Such compensation shall include, without limitation, an amount equal to: (i) any loss or
expense suffered by the Bank during the period from the date of receipt of such early payment or
prepayment or the date of such conversion to the last day of such Interest Period if the rate of
interest obtainable by the Bank upon the redeployment of an amount of funds equal to such
payment, prepayment or conversion or failure to borrow or convert is less than the rate of interest
applicable to such Eurodollar Loan for such Interest Period, or (ii) any loss or expense suffered
by the Bank in liquidating Eurodollar deposits prior to maturity that correspond to such payment,


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prepayment, conversion, failure to borrow or failure to convert. Without limiting the foregoing,
Borrower shall pay to Bank a “yield maintenance fee” in respect of Eurodollar Loans in an
amount computed as follows: The current rate for United States Treasury securities (bills on a
discounted basis shall be converted to a bond equivalent) with a maturity date closest to the last
day of the Interest Period applicable to the Loan as to which the prepayment is made, shall be
subtracted from the LIBOR in effect at the time of prepayment. If the result is a positive
number, then the resulting percentage shall be multiplied by the amount of the principal balance
being prepaid. The resulting amount shall be divided by 360 and multiplied by the number of
days remaining in the Interest Period during which the prepayment is made. Said amount shall
be reduced to present value calculated by using the above-referenced United States Treasury
securities rate and the number of days remaining in the applicable Interest Period. The resulting
amount shall be the yield maintenance fee due to Bank upon the prepayment of a Eurodollar
Loan. If by reason of an Event of Default, the Bank elects to declare the Notes or either of them
to be immediately due and payable, then any yield maintenance fee with respect to such a
Eurodollar Loan shall become due and payable in the same manner as though Borrower had
exercised such right of prepayment.

         The determination by the Bank of the amount of any such loss or expense, when set forth
in a written notice to the Borrower, containing the Bank’s calculation thereof in reasonable
detail, shall be presumed correct, in the absence of manifest error.

       Section 2.22 Telephonic Notices.

        The Borrower hereby authorizes the Bank to extend, convert or continue Loans, effect
selections of Types of Loans and to transfer funds based on telephonic notices made by any
person or persons the Bank in good faith believes to be acting on behalf of any Borrower, it
being understood that the foregoing authorization is specifically intended to allow Borrowing
Notices and Conversion/Continuation Notices to be given telephonically. The Borrower agrees
to deliver promptly to the bank a written confirmation, if such confirmation is requested by the
Bank, of each telephonic notice signed by an authorized officer. If the written confirmation
differs in any material respect from the action taken by the Bank, the records of the Bank shall
govern absent manifest error.

                                           Article 3.
                                 Representations and Warranties.

       The Borrower hereby represents and warrants to the Bank that:

       Section 3.1     Organization.

                (a)     Each of the Borrower and each Guarantor is duly organized and validly
existing business corporation under the laws of the State of New York and has the power to own
its assets and to transact the business in which it is presently engaged and in which it proposes to
be engaged. The Borrower has full power and authority to own, operate and charter to others,
vessels documented under the laws of the United States of America. Schedule 3.1 accurately and
completely lists, as to each of the Borrower and each Guarantor: (i) the classes and number of
authorized and outstanding shares of capital stock of each such corporation, and the owners of



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such outstanding shares of capital stock, and (ii) the business in which each of such entities is
engaged. All of the foregoing shares or other equity interests that are issued and outstanding
have been duly and validly issued and are fully paid and non-assessable, and are owned by the
Persons referred to on Schedule 3.1, free and clear of any Lien except as otherwise provided for
herein. Except as set forth on Schedule 3.1, there are no outstanding warrants, options, contracts
or commitments of any kind entitling any Person to purchase or otherwise acquire any shares of
capital stock or other equity interests of either Borrower or any Guarantor nor are there
outstanding any securities that are convertible into or exchangeable for any shares of capital
stock or other equity interests of either Borrower or any Guarantor. Except as set forth on
Schedule 3.1, neither the Borrower nor any Guarantor has any Subsidiary.

               (b)    Each of the Borrower and each Guarantor is in good standing in the State
of New York and in each state in which it is qualified to do business. There are no jurisdictions
in which the character of the properties owned or proposed to be owned by the Borrower or any
Guarantor or in which the transaction of the business of the Borrower or any Guarantor as now
conducted or as proposed to be conducted requires or will require the Borrower or any Guarantor
to qualify to do business and as to which failure so to qualify could have a Material Adverse
Effect on the Borrower or any Guarantor.

               (c)     Each of Borrower and each Guarantor is and will remain a “United States
citizen” within the meaning of section 2 of the Shipping Act and is eligible to own and operate
vessels in the coastwise trade. Each Vessel was or will be built in the United States, has never
been rebuilt outside the United States and has never been owned by any Person other than a
“United States citizen” within the meaning of the Shipping Act.

       Section 3.2    Power, Authority, Consents.

        The Borrower and each Guarantor has the power to execute, deliver and perform the
Loan Documents to be executed by it. The Borrower has the power to borrow hereunder and has
taken all necessary corporate action to authorize the borrowing hereunder on the terms and
conditions of this Agreement. The Borrower and each Guarantor has taken all necessary action,
corporate or otherwise, to authorize the execution, delivery and performance of the Loan
Documents to be executed by it. No consent or approval of any Person (including, without
limitation, any stockholder of any Guarantor), no consent or approval of any landlord or
mortgagee, no waiver of any Lien or right of distraint or other similar right and no consent,
license, approval, authorization or declaration of any Governmental Authority, bureau or agency,
is or will be required in connection with the execution, delivery or performance by the Borrower
or any other Loan Party, or the validity, enforcement or priority, of the Loan Documents or any
Lien created and granted thereunder, except as set forth on Schedule 3.2, each of which either
has been duly and validly obtained on or prior to the date hereof and is now in full force and
effect, or is designated on Schedule 3.2 as waived by the Bank.

       Section 3.3    No Violation of Law or Agreements.

       The execution and delivery by the Borrower and each Guarantor of each Loan Document
to which it is a party and performance by it hereunder and thereunder, will not violate any
provision of law, including, without limitation: (a) Executive Order No. 8389, as amended and


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supplemented of the President of the United States or any rules or regulations thereunder, (b) any
Foreign, Cuban or Iranian Assets Control Regulations of the United States contained in Title 31,
Code of Federal Regulations, Subchapter B, Chapter V, as amended, or (c) Executive Order No.
12722 dated August 2, 1990, and Executive Order No. 12724 dated August 9, 1990, prohibiting
certain transactions with respect to Iraq, and will not, except as set forth on Schedule 3.2, conflict
with or result in a breach of any order, writ, injunction, ordinance, resolution, decree, or other
similar document or instrument of any court or Governmental Authority, bureau or agency,
domestic or foreign, or any certificate of incorporation or by-laws of either Borrower or any
other corporate Loan Party, or create (with or without the giving of notice or lapse of time, or
both) a default under or breach of any agreement, bond, note or indenture to which either
Borrower or any other Loan Party is a party, or by which any of them is bound or any of their
respective properties or assets is affected, or result in the imposition of any Lien of any nature
whatsoever upon any of the properties or assets owned by or used in connection with the
business of the Borrower or any other Loan Party, except for the Liens created and granted
pursuant to the Security Documents.

       Section 3.4     Due Execution, Validity, Enforceability.

        This Agreement and each other Loan Document to which any Loan Party is a party has
been duly executed and delivered by the Loan Party that is a party thereto and each constitutes
the valid and legally binding obligation of the Borrower or such other Loan Party that is a party
thereto, enforceable in accordance with its terms, except as such enforcement may be limited by
applicable bankruptcy, insolvency, reorganization, moratorium, or other similar laws, now or
hereafter in effect, relating to or affecting the enforcement of creditors’ rights generally and
except that the remedy of specific performance and other equitable remedies are subject to
judicial discretion.

       Section 3.5     Properties, Priority of Liens; Vessel Classification, Documentation,
Insurance, etc.

                (a)     The Borrower and each Guarantor is the sole owner of the whole of the
Vessel set forth opposite its name on Schedule 3.5. All of the properties and assets owned by the
Borrower and all of the properties and assets owned by each Guarantor (including the Vessels)
are owned by each of them, respectively, free and clear of any Lien of any nature whatsoever,
except as provided for in the Security Documents, and as permitted by Section 7.2. The Liens
that, simultaneously with the Closing, have been created and granted by the Security Documents
constitute valid perfected first Liens on the properties and assets covered by the Security
Documents, subject to no prior or equal Lien except as permitted by Section 7.2. Each Ship
Mortgage, when duly executed and delivered by the relevant Loan Party, will be effective to
create in favor of the Bank a legal, valid and enforceable Lien on all of the Bank’s right, title and
interest in and to the Vessel under such Ship Mortgage and the proceeds thereof, and when the
Ship Mortgages are filed in the offices specified on Schedule 3.5, the Ship Mortgages shall
constitute a Lien on, and security interest in, all right, title and interest of the Bank in such
Vessels that are subject of the Ship Mortgage and the proceeds thereof, in each case prior and
superior in right to any other Person, other than Permitted Liens.




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                (b)     Each Vessel is : (i) classified in the highest classification for vessels of the
same age and type in the American Bureau of Shipping and is in class without recommendation;
(ii) documented in the name of the respective Guarantor, (iii) duly qualified to operate in the
coastwise trade of the United States, (iv) eligible to transport cargo between ports in the United
States under the Merchant Marine Act of 1920, (v) built in the United States and has been
continuously owned and operated by a citizen of the United States, within the meaning of
Section 2 of the Shipping Act, (vi) covered by hull, war and protection and indemnity and
mortgagee’s interest insurance in accordance with the requirements of this Agreement and the
Ship Mortgage covering such Vessel, and otherwise satisfactory to the Bank; (vii) endorsed and
documented in accordance with applicable legal requirements, including, in the case of new
Vessels, filings for all Vessels with the United States Coast Guard, National Vessel
Documentation Center, an Application for Documentation, on form CG-1258, satisfactory to
Lender and its counsel, seeking documentation of the Vessel in the name of the applicable Loan
Party as a vessel of the United States eligible to engage in the coastwise trade, (viii) subject to a
valid certificate of inspection issued by the United States Coast Guard, and each such certificate
of inspection is in full force and effect without recommendation, (ix) has been issued a Builder’s
Certification by Builder, on form CG-1261, or if such new Vessel has been previously
documented in the name of Builder, is subject to a Bill of Sale, on form CG-1340, satisfactory to
Bank, sufficient (when filed with the United States Coast Guard, National Vessel Documentation
Center), to vest good title to the New Vessel in the applicable Loan Party, free and clear of all
Liens (other than Permitted Liens).

       Section 3.6     Judgments, Actions, Proceedings.

       There are no outstanding judgments, actions or proceedings at law, in equity or in
admiralty, including, without limitation, any Environmental Proceeding, pending before any
court or Governmental Authority, bureau, agency, commission, board or instrumentality, with
respect to or, to the best of the Borrower’s knowledge, threatened against or affecting the
Borrower, any Guarantor or any Affiliate, involving a claim in excess of $1,500,000 (which is
not fully covered by insurance, subject to deductibles), nor, to the best of the Borrower’s
knowledge, is there any reasonable basis for the institution of any such action or proceeding that
is probable of assertion, nor are there any such actions or proceedings in which either Borrower
or any Guarantor is a plaintiff or complainant.

       Section 3.7     No Defaults, Compliance With Laws.

        Neither Borrower nor any Guarantor nor any Affiliate is in default under any agreement,
ordinance, resolution, decree, bond, note, indenture, order or judgment to which it is a party or
by which it is bound, or any other agreement or other instrument by which any of the properties
or assets owned by it or used in the conduct of its business is affected, nor is it in material breach
of any Environmental Laws and Regulations or subject to any Environmental Liability which
default, breach or liability could (after considering any insurance proceeds available in respect
thereof) have a Material Adverse Effect on the Borrower or any Guarantor. The Borrower and
each Guarantor has complied and is in compliance in all material respects with all applicable
laws, ordinances and regulations, resolutions, ordinances, decrees and other similar documents
and instruments of all courts and Governmental Authorities, bureaus and agencies, domestic and
foreign, including, without limitation, all applicable provisions of the Americans with


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Disabilities Act (42 U.S.C. 12101-12213) and the regulations issued thereunder and all
applicable Environmental Laws and Regulations, non-compliance with which could have a
Material Adverse Effect on the Borrower or any Guarantor.

       Section 3.8    Burdensome Documents.

        Except as set forth on Schedule 3.8, neither Borrower nor any Guarantor is a party to or
bound by, nor are any of the properties or assets owned by either Borrower or any Guarantor
used in the conduct of their respective businesses affected by, any agreement, ordinance,
resolution, decree, bond, note, indenture, order or judgment, including, without limitation, any of
the foregoing relating to any Environmental Liability, that materially and adversely affects their
respective businesses, assets or conditions, financial or otherwise.

       Section 3.9    Solvency.

        Each of the Loan Parties is solvent and is able to pay its debts and other liabilities,
contingent obligations and other commitments as they mature in the normal course of business,
and the fair saleable value of each Loan Party’s assets, measured on a going concern basis,
exceeds all probable liabilities, including those to be incurred pursuant to this Agreement. None
of the Loan Parties has unreasonably small capital in relation to the business in which it is or
proposes to be engaged. None of the Loan Parties has incurred, or believes that it will incur
debts beyond its ability to pay such debts as they become due. In executing the Loan Documents
and consummating the transactions contemplated by this Agreement and the other Loan
Documents, none of the Loan Parties intends to hinder, delay or defraud either present or future
creditors or other Persons to which one or more of the Loan Parties is or will become indebted.
On the Closing Date, the foregoing representations and warranties shall be made both before and
after giving effect to the transactions contemplated by this Agreement and the other Loan
Documents.


       Section 3.10 Tax Returns.

        Each of the Borrower and each Guarantor has filed all federal, state and local tax returns
required to be filed by it and has not failed to pay any taxes, or interest and penalties relating
thereto, on or before the due dates thereof. Except to the extent reserved therefor and for which
proper reserves are reflected on the financial statements referred to in Section 3.19 hereof, there
are no (a) material federal, state or local tax liabilities of either Borrower due or to become due
for any tax year ended on or prior to the date of the Latest Balance Sheet, whether incurred in
respect of or measured by the income of such entity, that are not properly reflected in the Latest
Balance Sheet, and (b) material claims pending or, to the knowledge of the Borrower, proposed
or threatened against either Borrower for past federal, state or local taxes, except those as to
which proper reserves are reflected in the financial statements referred to in Section 3.19 hereof.

       Section 3.11 Intangible Assets.

       The Borrower possesses all patents, trademarks, service marks, trade names, and
copyrights, and rights with respect to the foregoing, necessary to conduct their business as now
conducted and as proposed to be conducted, without any conflict with the patents, trademarks,


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service marks, trade names, and copyrights and rights with respect to the foregoing, of any other
Person, and each of such patents, trademarks, service marks, trade names, copyrights and rights
with respect thereto, together with any pending applications therefor, are listed on Schedule 3.11.

       Section 3.12 Regulation U.

        No part of the proceeds received by the Borrower or any Guarantor from the Loans will
be used directly or indirectly for: (a) any purpose other than as set forth in Section 2.13, or (b)
the purpose of purchasing or carrying, or for payment in full or in part of Indebtedness that was
incurred for the purposes of purchasing or carrying, any “margin stock”, as such term is defined
in Section 221.3 of Regulation U of the Board of Governors of the Federal Reserve System, 12
C.F.R., Chapter II, Part 221.

       Section 3.13 Name Changes, Mergers, Acquisitions: Location of Collateral.

               (a)    Except as set forth on Schedule 3.13, no Borrower nor any Guarantor has
within the six-year period immediately preceding the date of this Agreement changed its name,
been the surviving entity of a merger or consolidation, or acquired all or substantially all of the
assets of any Person.

                 (b)     Except as set forth on Schedule 3.13, no Collateral (other than the Vessels)
constituting personal property having an aggregate fair market value in excess of $50,000
covered by the Security Documents has, at any time during the four-month period immediately
preceding the date hereof, been located anywhere other than: (i) at its location on the date hereof,
or (ii) the location referred to in the Security Document covering such Collateral.

       Section 3.14 Full Disclosure.

        No financial statement, certificate, opinion, or any other statement made or furnished in
writing to the Bank by or on behalf of the Borrower or any Guarantor in connection with this
Agreement or the transactions contemplated herein, contains any untrue statement of a material
fact, or omits to state a material fact necessary in order to make the statements contained therein
or herein not misleading, as of the date such statement was made. There is no fact known to the
Borrower that has, or would in the now foreseeable future have, a Material Adverse Effect on the
Borrower or any Guarantor, which fact has not been set forth herein, in any financial statements
or any certificate, opinion or other written statement so made or furnished to the Bank.

       Section 3.15 Licenses and Approvals.

       The Borrower has all requisite power and authority and necessary licenses and permits,
including, without limitation, all licenses, authorizations and permits arising under or relating to
any Environmental Liability, to own and operate its properties, and to carry on its businesses as
now conducted.

       Section 3.16 Labor       Disputes;    Collective    Bargaining     Agreements:     Employee
Grievances.




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        Except as set forth on Schedule 3.16: (a) there are no collective bargaining agreements or
other labor contracts covering the Borrower or any Guarantor; (b) no such collective bargaining
agreement or other labor contract will expire during the term of this Agreement: (c) to the best of
the Borrower’s knowledge, no union or other labor organization is seeking to organize, or to be
recognized as bargaining representative for, a bargaining unit of employees of the Borrower or
any Guarantor; (d) there is no pending or, to the best of the Borrower’s knowledge, threatened
strike, work stoppage, material unfair labor practice claim or charge, arbitration or other material
labor dispute against or affecting the Borrower or any Guarantor or their respective employees;
and (e) there are no actions, suits, charges, demands, claims, counterclaims or proceedings
pending or, to the best of the Borrower’s knowledge, threatened against either Borrower or any
Guarantor, by or on behalf of, or with, its employees, other than employee grievances arising in
the ordinary course of business that are not, in the aggregate material.

       Section 3.17 Condition of Assets.

       All of the assets and properties of the Borrower and each Guarantor that are reasonably
necessary for the operation of their respective businesses, are in good working condition,
ordinary wear and tear excepted, and are able to serve the function for which they are currently
being used.

       Section 3.18 ERISA.

               (a)   Except as set forth on Schedule 3.18, no Employee Benefit Plan is
maintained or has ever been maintained by any Loan Party or any ERISA Affiliate, nor has any
Loan Party or any ERISA Affiliate ever contributed to a Multiemployer Plan.

               (b)   There are no agreements which will provide payments to any officer,
employee, shareholder or highly compensated individual which will be “parachute payments”
under 280G of the Code that are nondeductible to any Loan Party and which will be subject to
tax under Section 4999 of the Code for which any Loan Party will have a material withholding
liability.

       Section 3.19 Financial Statements.

        Each of the Financial Statements is correct and complete and presents fairly the financial
position of the Borrower and each other entity to which the Borrower relates, as at its date, and
has been prepared in accordance with generally accepted accounting principles. Neither any
Borrower nor any other entity to which any of the Financial Statements relates, has any material
obligation, liability or commitment, direct or contingent (including, without limitation, any
Environmental Liability), that is not reflected in the Financial Statements or the Pro Forma
Balance Sheet. There has been no material adverse change in the financial position or operations
of any Borrower or any other entity to which any of the Financial Statements relates since the
date of the latest balance sheet included in the Financial Statements (the “Latest Balance Sheet”).
The fiscal year of the Borrower and of its Subsidiaries is the twelve-month period ending on
December 31 in each year.

       Section 3.20 Compliance with OFAC Rules and Regulations.



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                (a)     None of the Loan Parties or their Subsidiaries or their respective Affiliates
        is in violation of and shall not violate any of the country or list based economic and trade
        sanctions administered and enforced by OFAC that are described or referenced at
        http://www.ustreas.gov/offices/enforcement/ofac/ or as otherwise published from time to
        time.

                 (b)    None of the Loan Parties or their Subsidiaries or their respective Affiliates
        (i) is a Sanctioned Person or a Sanctioned Entity, (ii) has a more than 10% of its assets
        located in Sanctioned Entities, or (iii) derives more than 10% of its operating income
        from investments in, or transactions with Sanctioned Persons or Sanctioned Entities. No
        proceeds of any Loan will be used nor have any been used to fund any operations in,
        finance any investments or activities in or make any payments to, a Sanctioned Person or
        a Sanctioned Entity.

        Section 3.21 Anti-Terrorism Laws.

        Neither any Credit Party nor any of its Subsidiaries is an “enemy” or an “ally of the
enemy” within the meaning of Section 2 of the Trading with the Enemy Act of the United States
of America (50 U.S.C. App. §§ 1 et seq.) (the “Trading with the Enemy Act”), as amended.
Neither any Credit Party nor any of its Subsidiaries is in violation of (a) the Trading with the
Enemy Act, as amended, (b) any of the foreign assets control regulations of the United States
Treasury Department (31 CFR, Subtitle B, Chapter V, as amended) or any enabling legislation or
executive order relating thereto or (c) the Patriot Act. None of the Credit Parties (i) is a blocked
person described in Section 1 of the Anti-Terrorism Order or (ii) to the best of its knowledge,
engages in any dealings or transactions, or is otherwise associated, with any such blocked
person.

        Section 3.22 Compliance with FCPA.

        Each of the Loan Parties and their Subsidiaries is in compliance with the Foreign Corrupt
Practices Act, 15 U.S.C. §§ 78dd-1, et seq., and any foreign counterpart thereto. None of the
Loan Parties or their Subsidiaries has made a payment, offering, or promise to pay, or authorized
the payment of, money or anything of value (a) in order to assist in obtaining or retaining
business for or with, or directing business to, any foreign official, foreign political party, party
official or candidate for foreign political office, (b) to a foreign official, foreign political party or
party official or any candidate for foreign political office, and (c) with the intent to induce the
recipient to misuse his or her official position to direct business wrongfully to such Loan Party or
its Subsidiary or to any other Person, in violation of the Foreign Corrupt Practices Act, 15 U.S.C.
§§ 78dd-1, et seq.

        Section 3.23 Investment Company Act, Etc.

        Neither the Borrower nor any of its Subsidiaries is (a) an “investment company” or is
“controlled” by an “investment company”, as such terms are defined in, or subject to registration
under, the Investment Company Act of 1940, as amended, or (b) otherwise subject to registration
under any other regulatory scheme limiting its ability to incur debt or requiring any approval or
consent from or registration or filing with, any Governmental Authority in connection therewith.


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       Section 3.24 Vessel Qualification.

        The Borrower maintains in its possession, or causes each Guarantor to maintain in its
possession, a current SMC for each Vessel, a DOC for the operator of each Vessel and a United
States Coast Guard Certificate of Financial Responsibility (Water Pollution) with respect to each
Vessel. Upon reasonable request of the Bank at any time and from time to time, the Borrower
shall deliver confirmation to the Bank that each of the foregoing certificates is in force and
effect. Neither the Borrower nor the Guarantors require an ISSC to operate any Vessel for the
intended domestic coastal trade of the Vessels.


                                            Article 4.
                               The Closing: Conditions to the Loan

       Section 4.1     The Closing.

        The closing with respect to the “initial Loan” to be made hereunder (the “Closing”) shall
take place on the date (the “Closing Date”) of the fulfillment (to the satisfaction of the Bank) of
the conditions precedent set forth in Sections 4.2 and 4.3. Subject to the fulfillment (to the
satisfaction of the Bank) of the conditions precedent set forth in Sections 4.2 and 4.3, the Closing
shall take place at 10:00 a.m. on the Closing Date at the offices of the Borrower in Melville, New
York, or at such other place (or via electronic means) upon which the parties hereto shall agree.

       Section 4.2     Conditions to the Initial Loan.

        This Agreement shall become effective upon, and the obligation of Bank to make the
initial Loans on the Closing Date is subject to, the satisfaction of the following conditions
precedent:

               (a)     The Borrower shall have executed and delivered to the Bank the Note.

                 (b)   The Borrower shall (or in the case of (i) and (ii) below the Bank, if it shall
so elect, shall) have:

                       (i)     caused to be duly filed appropriate Uniform Commercial Code
       financing statements in order to enable the Bank to perfect and preserve its security
       interest in the Collateral covered by the Security Documents;

                    (ii)     caused to be delivered to the Bank acknowledgment copies thereof
       evidencing such filings;

                     (iii)     delivered to the Bank evidence of the Borrower’s liability
       insurance policies;

                      (iv)    delivered to the Bank: appraisals with respect to the Vessels, which
       shall be in form and substance satisfactory to the Bank; and




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                    (v)     otherwise duly complied with all of the terms and conditions of the
       Security Documents to be executed by it.

              (c)    Each of the Guarantors shall have:

                     (i)     executed and delivered to the Bank its Guaranty of the Obligations
       hereunder;

                     (ii)    delivered to the Bank with respect to each Vessel, original
       summaries of the insurance coverage (or original policies) and certificates of entry
       evidencing insurance covering such Vessel;

                      (iii)   executed and delivered to the Bank a Ship Mortgage on each
       Vessel owned by it and, in connection therewith, each such Vessel shall have been duly
       documented in the name of such Guarantor under the laws of the United States, each of
       such Ship Mortgages shall have been duly recorded by the United States Coast Guard (or,
       in the discretion of the Bank, filed for recording in such office), and each of such Ship
       Mortgages shall constitute a preferred mortgage on the Vessel to which it relates subject
       only to other preferred mortgage liens in favor of the Bank;

                     (iv)    executed and delivered to the Bank the Assignments and, in
       connection therewith, shall have executed and delivered to the Bank notices of
       assignment and authorizations to collect insurance claims and to collect general average
       contributions, in such form and in such number of counterparts as may be reasonably
       requested by the Bank; and

                    (v)     otherwise duly complied with all of the terms and conditions of the
       Security Documents to be executed by it.

              (d)    LeClairRyan, a Professional Corporation, counsel to the Borrower and the
Guarantors, shall have delivered its opinion to, and in form and substance satisfactory to, the
Bank.

              (e)    The Bank shall have received the following:

                      (i)      (A) a true and complete copy of the Certificate of Documentation
       of each Vessel and (B) a certificate of ownership and encumbrance or a certified copy of
       the Abstract of Title of such Vessel issued by the United States Coast Guard showing the
       Guarantor described on Schedule 3.5 as the owner of such Vessel to be the sole owner of
       each Vessel free and clear of all Liens of record except (x) the Ship Mortgage or
       Mortgages covering each such Vessel in favor of the Bank and (y) the Liens in favor of
       Bank of America, N.A. that are being terminated on the closing date in connection with
       the payoff of all existing indebtedness in favor;

                     (ii)     with respect to each Vessel if the Bank shall have requested the
       same in writing, a current classification survey status report from the American Bureau of
       Shipping;



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                     (iii)   with respect to each Vessel, a copy of the current certificate of
       inspection issued by the United States Coast Guard covering such Vessel reflecting no
       outstanding recommendations;

                      (iv)    (A) written advice from Arthur J. Gallagher Risk Management
       Associates, Inc., insurance brokers acting for Borrower, of the placement of the
       insurances covering each Vessel; (B) written confirmation from such brokers, that they
       have received no notice of the assignment of the insurances or any claim covering each
       Vessel in favor of any party other than the Bank; (C) an opinion of such brokers to the
       effect that such insurance complies with the applicable provisions of the Ship Mortgages;
       and (D) an agreement by such brokers, in form and substance satisfactory to the Bank,
       whereunder the insurances of each Vessel, and claims thereunder, will not be affected by
       nonpayment of premiums on any other insurances;

               (f)     The Bank shall have received copies of the following:

                     (i)      All of the consents, approvals and waivers referred to on Schedule
       3.2 (except only those which, as stated on Schedule 3.2, shall not be delivered);

                     (ii)     The certificates of incorporation of the Borrower and the
       Guarantors, certified by the Secretary of State of their respective states of incorporation;

                     (iii)   The by-laws of the Borrower and the Guarantors (other than with
       respect to B No. 245 Co.), certified by their respective secretaries;

                     (iv)    All corporate action taken by the directors (and, if requested, taken
       by the shareholders) of the Borrower and the Guarantors to authorize the execution,
       delivery and performance of each of the Loan Documents to which it is a party and the
       transactions contemplated thereby, certified by their respective secretaries;

                     (v)      Good standing certificates and telegrams as of dates not more than
       ten (10) days prior to the Closing Date, with respect to the Borrower and the Guarantors,
       from the Secretary of State of their respective states of incorporation and each state in
       which each of them is qualified to do business; and

                    (vi)    Incumbency certificates (with specimen signatures) with respect to
       the Borrower and the Guarantors.

                (g)     The Bank shall have received an officer’s certificate prepared by the chief
financial officer or chief executive officer of the Borrower as to the financial condition, solvency
and related matters of the Loan Parties and their Subsidiaries, after giving effect to the
transactions contemplated by this Agreement and the other Loan Documents and the initial
borrowings under the Loan Documents, in substantially the form of Exhibit D hereto.

               (h)     The Bank shall have received a Compliance Certificate executed by a duly
authorized officer of the Borrower as of the Closing Date also certifying that each of the other
conditions precedent in Section 4.2 have been satisfied, except to the extent the satisfaction of
any such condition is subject to the judgment or discretion of the Bank or any Lender.


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               (i)   All legal matters incident to the execution and delivery of this Agreement
and the other Loan Documents shall be satisfactory to counsel to the Bank.

              (j)     All the legal and appraisal fees of the Bank in connection with the
preparation and/or execution and delivery of this Loan Agreement shall have been paid.

       Section 4.3     Conditions to Each Loan.

       The obligations of the Bank to make each Loan (including the initial Loan on the Closing
Date) shall be subject to the fulfillment (to the satisfaction of the Bank) of the following
conditions precedent:

               (a)     The Bank shall have received a Borrowing Notice in accordance with
subsection 2.1(b).

                (b)    The Borrower shall have complied and shall then be in compliance with
all of the terms, covenants and conditions of this Agreement;

              (c)      After giving effect to the Loan, there shall exist no Default or Event of
Default hereunder;

               (d)     The representations and warranties contained in Article 3 hereof shall be
true and correct on the date hereof;

               (e)    The Bank shall have received a Compliance Certificate dated the date of
the borrowing certifying, inter alia, that the conditions set forth in this subsection 4.3 are satisfied
on such date; and

               (f)     All legal matters incident to such Loan shall be satisfactory to counsel for
the Bank.

                                           Article 5.
                Delivery of Financial Reports, Documents and Other Information.

        While the Loans remain outstanding, so long as the Borrower is indebted to the Bank and
until payment in full of the Note and full and complete performance of all of their other
obligations arising hereunder, the Borrower shall deliver to the Bank:

       Section 5.1     Annual Financial Statements.

        Annually, as soon as available, but in any event within one hundred fifty (150) days after
the last day of each of their fiscal years, (a) a consolidated balance sheet of each of the Borrower
and its Subsidiaries as at such a last day of the fiscal year, and consolidated statements of income
and retained earnings and statements of cash flow for each, for such fiscal year, and (b)
combining balance sheets of each of the Borrower and its Subsidiaries as at such last day of the
fiscal year and combining statements of income and retained earnings and statements of cash
flow for such year, each prepared in accordance with generally accepted accounting principles
consistently applied, in reasonable detail, and certified without qualification by Owen Petersen &


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Co. LLP or another firm of independent certified public accountants satisfactory to the Bank, as
fairly presenting the financial position and the results of operations of each of the Borrower and
its Subsidiaries as at and for the year ending on its date and as having been prepared in
accordance with GAAP.

       Section 5.2     Quarterly Financial Statements.

        As soon as available, but in any event within ninety (90) days after the end of each
quarterly fiscal period, (a) a consolidated balance sheet of each of the Borrower and its
Subsidiaries as of the last day of such period and consolidated statements of income and retained
earnings and statements of cash flow for each, for such period, and combining balance sheets for
the Borrower together with its respective subsidiaries, and (b) combining statements of income
and retained earnings and statements of cash flow, for such fiscal period and in each case on a
comparative basis figures for the corresponding period of the immediately preceding fiscal year,
all in reasonable detail, such consolidated statements to be certified on a review basis by the
independent certified public accountants referred to in Section 5.1 hereof in each case as
accurately presenting the financial position and the results of operations of each of the Borrower
and its Subsidiaries as the case may be, as at its date and for such period and as having been
prepared in accordance with GAAP (subject to year-end audit adjustments).

       Section 5.3     Compliance Information.

                (a)     Concurrently with the delivery of the financial statements referred to in
Sections 5.1 and 5.2 above, a statement or certificate delivered by the president or chief financial
officer of the Borrower, representing that the financial statements were prepared in accordance
with Sections 5.1 and 5.2 and providing calculations in reasonable detail to show compliance
with Section 6.9 hereof as of the last day of such period. Upon delivery of such statement or
certificate, no Default or Event of Default shall be deemed to exist unless otherwise disclosed by
such officer.

              (b)    Promptly after a written request therefor, such other financial data or
information evidencing compliance with the requirements of this Agreement, the Note and the
other Loan Documents, as the Bank may reasonably request from time to time.

       Section 5.4     Certificate of Accountants.

        At the same time as they deliver the financial statements required under the provisions of
Section 5.1, a certificate of the independent certified public accountants of the Borrower
addressed specifically to both the Borrower and the Bank to the effect that during the course of
their audit of the operations of the Borrower and the Borrower’s condition as of the end of the
fiscal year, nothing has come to their attention which would indicate that a Default or an Event
of Default hereunder has occurred or that there was any violation of the covenants contained in
Sections 6.9, Article 7 or Section 8.13 of this Agreement, or, if such cannot be so certified,
specifying in reasonable detail the exceptions, if any, to such statement.

       Section 5.5     Accountants’ Reports.




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       Promptly upon receipt thereof, copies of all other reports submitted to the Borrower by its
independent accountants in connection with any annual or interim audit or review of the books of
the Borrower made by such accountants.

       Section 5.6    Notices of Defaults.

       Promptly, notice of the occurrence of any Default or Event of Default, or any event that
would constitute or cause a material adverse change in the condition, financial or otherwise, or
the operations of the Borrower or any of the Guarantors.

       Section 5.7    ERISA Notices and Requests.

        Notice, within ten (10) days after the occurrence of any of the following: (a) the
establishment or maintenance by any Loan Party or any ERISA Affiliate, or any Loan Party or
ERISA Affiliate becoming liable in respect of, any Employee Benefit Plan or any Multiemployer
Plan other than the Plans set forth on Schedule 3.18; (b) the failure by any Loan Party or any
ERISA Affiliate to make any required contribution or payment in respect of any Employee
Benefit Plan or Multiemployer Plan; and (c) receipt by any Loan Party or ERISA Affiliate of any
correspondence with the PBGC, the Secretary of Labor of the United States of America or any
representative of the IRS with respect to any Employee Benefit Plan or Multiemployer Plan,
relating to an actual or threatened change or development which could have a Materially Adverse
Effect on the Borrower, any other Loan Party or any ERISA Affiliate.

       Section 5.8    Additional Information.

       Such other information regarding the business, affairs and condition of the Borrower and
the Guarantors as the Bank may from time to time reasonably request.

                                           Article 6.
                                     Affirmative Covenants.

        While the Loans or the commitment of Bank to make Loans hereunder remain
outstanding, so long as the Borrower is indebted to the Bank, and until payment in full of the
Note and full and complete performance of all of their other obligations arising hereunder and
the termination of all commitments of Bank to lend funds hereunder, the Borrower shall and
shall cause each Subsidiary and Guarantor to:

       Section 6.1    Books and Records.

        Keep proper books of record and account in a manner in which full, true and correct
entries shall be made of all dealings or transactions in relation to its business and activities.

       Section 6.2    Inspections and Audits.

        Permit the Bank to make or cause to be made, on reasonable notice and at reasonable
times (a) so long as no Event of Default exists, no more than one time in any calendar year,
inspections and audits of any books, records and papers of the Borrower and to make extracts
therefrom and copies thereof, and (b) (at the Bank’s expense prior to the occurrence of a Default


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or an Event of Default) inspections and examinations of any properties and facilities of the
Borrower and each of the Subsidiaries and Guarantors, in order to assure that the Borrower is
and will be in compliance with their obligations under the Loan Documents or to evaluate the
Bank’s investment in the Note; provided, however, that during the existence of an Event of
Default, the Bank may make such inspections, audits and examinations at Borrower’s expense as
often as the Bank may deem necessary or desirable in its sole discretion. The information
obtained by the Bank in connection with such inspections, audits and examinations shall be
subject to the confidentiality provisions set forth in Section 9.16 hereof.

       Section 6.3     Compliance with Laws: Maintenance and Repairs.

        Comply, in connection with the Borrower’s and each of the Subsidiaries’ and Guarantors’
ownership and operation of its business, with all applicable laws, ordinances, regulations and
orders, non-compliance with which could have a Material Adverse Effect; and maintain in good
repair, working order and condition, subject to normal wear and tear, all material properties and
assets from time to time owned by them and used in or necessary for the operation of their
business, and make all reasonable repairs, replacements, additions and improvements thereto.

       Section 6.4     Continuance of Business.

       Do, or cause to be done, all things reasonably necessary to preserve and keep in full force
and effect their corporate existence and all permits, rights and privileges necessary for the proper
conduct of their business and continue to engage in the same line of business and comply in all
material respects with all applicable laws, regulations and orders.

       Section 6.5     Copies of Corporate Documents.

        Subject to the prohibitions set forth in Section 7.12, promptly deliver to the Bank copies
of any amendments or modifications to their, any Subsidiary’s and any Guarantor’s certificate of
incorporation and by-laws, certified with respect to the certificate of incorporation by the
Secretary of State of such corporation’s state of incorporation and, with respect to the bylaws, by
the secretary or assistant secretary of such corporation.

       Section 6.6     Perform Obligations.

        Pay and discharge all of their respective obligations and liabilities, including, without
limitation, all taxes, assessments and governmental charges upon their income and properties
when due, unless and to the extent only that such obligations, liabilities, taxes, assessments and
governmental charges shall be contested in good faith and by appropriate proceedings and that,
to the extent required by generally accepted accounting principles then in effect, proper and
adequate book reserves relating thereto are established by the Borrower and then only to the
extent that a bond is filed in cases where the filing of a bond is necessary to avoid the creation of
a Lien against any of its properties.

       Section 6.7     Notice of Litigation.

       Promptly notify the Bank in writing of any litigation, legal proceeding, investigation or
dispute, at law, in equity or in admiralty, other than disputes in the ordinary course of business


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or, whether or not in the ordinary course of business, (a) involving amounts, either individually
or in the aggregate, (i) in excess of One Million Five Hundred Thousand Dollars ($1,500,000), or
(ii) that could reasonably be expected to have a Material Adverse Effect, (b) that involves
material injunctions or material requests for injunctive relief by or against any Loan Party or any
Subsidiary of any Loan Party, (c) affecting or with respect to this Agreement, any other Loan
Document or any security interest or Lien created thereunder or (d) by any Governmental
Authority relating to any Loan Party or any Subsidiary thereof and alleging fraud, criminal
deception or willful misconduct by such Person that involves potential liability to any Loan Party
or any Subsidiary thereof, either individually or in the aggregate, that could reasonably be
expected to (i) exceed One Million Five Hundred Thousand Dollars ($1,500,000), or (ii) have a
Material Adverse Effect, in each case of subsections (a) through (d) hereof, affecting any Loan
Party or any Subsidiary thereof, whether or not fully covered by insurance, and regardless of the
subject matter thereof (excluding, however, any actions relating to workers’ compensation
claims or negligence claims relating to use of motor vehicles or vessels, if fully covered by
insurance, subject to deductibles).

       Section 6.8     Insurance.

                (a)    Maintain with financially sound and reputable insurance companies such
insurance on such of its properties and business, and the properties and business of its
Subsidiaries, in such amounts and against such risks as is customarily maintained by similar
businesses operating in the same or similar locations and all insurance required to be maintained
pursuant to the Security Documents, with policy deductibles that shall not exceed that which is
customary for companies similarly situated and reasonably acceptable to the Bank, including,
without limitation (1) full form hull and war risks insurance, with a stipulated agreed value in an
amount not less than the fair market value of such Vessel (but in no event and at no time shall the
aggregate hull insurance on all Vessels be in an amount less than the outstanding balance of the
Obligations), (2) protection and indemnity insurance, on form SP-23 or equivalent, including,
without limitation, coverage for the crew of each Vessel, liability to cargo legal liability and
wreck removal, in amounts per occurrence reasonably acceptable to the Bank, (3) pollution
liability and clean-up insurance, with limits per occurrence of no less than the limits of liability
under the Oil Pollution Act of 1990, 33 U.S.C. §2701, et seq. and the Comprehensive
Environmental Response, Compensation and Liability Act of 1980, 42 U.S.C. §9601, et seq., as
each is amended from time to time, (4) excess risks, including excess protection and indemnity,
excess cargo liability, excess collision, and excess pollution insurance, in one or more layers,
with aggregate limits in excess of primary in amounts reasonably acceptable to the Bank, and (5)
such additional insurance or limits as may be reasonably required by the Bank; provided,
however, that it is acknowledged and agreed that the Borrower’s policies of insurance and the
coverages thereunder that are in effect on the Closing Date are acceptable to the Bank.

                (b)    File with the Bank upon Bank’s request a detailed list, certified by the
chief executive officer or chief financial officer of the Borrower, of the insurance then in effect,
stating the names of the insurance companies, the amounts and rates of the insurance, the dates
of the expiration thereof and the properties and risks covered thereby.

              (c)     At all times shall name the Bank as additional insured on all liability
insurance policies (other than protection and indemnity coverage) of the Borrower and its


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Subsidiaries and as loss payee (pursuant to the loss payee endorsement approved by the Bank) on
all casualty and property insurance policies of the Borrower and its Subsidiaries (including on all
hull and machinery, increased value and other physical loss or damage coverages).

                (d)     Ensure that insurance policies pertaining to Vessels provide that (1) there
shall be no recourse against the Bank for the payment of premiums, commissions or deductibles,
(2) if such policies provide for the payment of club calls, assessments or advances, there shall be
no recourse against the Bank for the payment thereof and (3) to the extent obtainable from
underwriters or brokers, the Bank will receive at least fourteen (14) days (other than for War
Risks insurance, where seven (7) Business Days shall apply) written notice from the insurance
company or broker prior to cancellation or any material alteration in the insurance policy or
reduction in coverage which could materially affect the interest of the Bank.

              (e)     Should any Vessel be navigated outside her customary navigation limits,
Borrower shall, prior to any such navigation, procure an endorsement to the policies obtained
hereunder authorizing such navigation, and procure increased value, war risk and related
coverages as may be reasonably required by the Bank.

                (f)    Provide to the Bank, within ten (10) days of the Closing Date, a separate
single interest or breach of warranty coverage in an amount at all times equal to or greater than
the Obligations, such that no act or omission of Borrower, or any charterer, or breach of any
warranty, including breach of any warranty of seaworthiness, whether express or implied, shall
operate to forfeit the Bank’s coverage under the above policies or result in a cancellation of
insurance as to the Bank.

               (g)     Should Borrower or any Subsidiary fail to obtain any insurance referred to
herein, give the Bank written notice of such fact, endeavor to obtain such insurance and detain
such Vessel in port until such insurance has been obtained.

       Section 6.9    Financial Covenants.

       Have or maintain:

               (a)     a Total Leverage Ratio of not greater than 2.75 to 1.00 at Closing, and at
the end of each fiscal quarter of the Borrower.

               (b)       a combined Tangible Net Worth (that is, the aggregate Tangible Net Worth
for the Borrower and its Subsidiaries) equal to Two Hundred Million Dollars ($200,000,000.00)
at Closing, and at all times thereafter.

               (c)     ownership, legally and beneficially, by Borrower or Affiliates of Borrower
of one hundred percent (100%) of the issued and outstanding capital stock of the Affiliates of
Borrower whose revenues and tangible net worth comprise not less than eighty percent (80%) of
the revenues and tangible net worth used in compiling the Total Leverage Ratio and Tangible Net
Worth referred to in (a) and (b) above of this Section 6.9.

       Section 6.10 Notice of Certain Events.



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             (a)     Promptly notify the Bank in writing of any event in respect of any
Employee Benefit Plan or any Multiemployer Plan which could have a Material Adverse Effect
on any Borrower, any of its Subsidiaries, any other Loan Party or any ERISA Affiliate.

                 (b)      Promptly notify the Bank in writing if either Borrower, any Subsidiary of
either Borrower, or any other Loan Party or Affiliate receives: (i) any notice of any violation or
administrative or judicial complaint or order having been filed or about to be filed against such
Borrower or such other Loan Party alleging violations of any Environmental Law and Regulation
that could reasonably be expected to (x) result in liability, either individually or in the aggregate,
in excess of $1,500,000 or (y) have a Material Adverse Effect, or (ii) any notice from any
Governmental Authority or any other Person alleging that such Borrower or such other Loan
Party is or may be subject to any Environmental Liability that could reasonably be expected to
(x) result in liability, either individually or in the aggregate, in excess of $1,500,000 or (y) have a
Material Adverse Effect; and promptly upon receipt thereof, provide the Bank with a copy of
such notice together with a statement of the action the Borrower or such other Loan Party intends
to take with respect thereto.

       Section 6.11 ERISA Compliance.

       Materially comply with all applicable provisions of ERISA and the Code now or
hereafter in effect.

       Section 6.12 Environmental Compliance.

       Operate all property owned, operated or leased by it in compliance with all
Environmental Laws and Regulations, such that no material Environmental Liability arises under
any Environmental Laws and Regulations, which could (a) reasonably be expected to have a
Material Adverse Effect on any Borrower, any of its Subsidiaries or any other Loan Party or (b)
materially adversely affect the value of any Vessel or the validity, priority or enforceability of
the Bank’s Lien thereon.

       Section 6.13 Certain Affirmative Covenants Relating to the Vessels.

                (a)    Promptly after the date hereof, cause a certified copy of each Ship
Mortgage, together with a notice thereof, to be kept with the certificate of documentation of the
Vessel to which it relates, and with respect to each Vessel, shall furnish the Bank with copies of
the masters’ signed receipts therefor.

                (b)    Cause the Vessels to be maintained in the highest classification for vessels
of like age and type by the American Bureau of Shipping or any other classification society
satisfactory to the Bank.

                (c)    Permit the Bank to have the Vessels appraised by qualified appraiser or
surveyed by marine engineers or other surveyors, in each case selected by the Bank, in its sole
discretion, at such times and with such frequency, but in any event not more than once every year
in the case of appraisals and once every three years in the case of surveys, as the Bank may
reasonably request; provided, however, that (i) upon the occurrence and continuation of any
Event of Default, the Bank may have the Vessels appraised or surveyed at Borrower’s expense as


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often as it may deem necessary or desirable in its sole discretion and (ii) absent an Event of
Default, (A) the Bank shall provide the Borrower with thirty (30) days’ notice of an appraisal or
survey and (B) such appraisals or surveys shall be conducted at the Bank’s expense, unless the
Bank deems such appraisals or surveys to be necessary in connection with a request made by the
Borrower for (1) additional financing or extensions of credit (whether in connection with this
Agreement or otherwise) or (2) the substitution of, replacement of, or addition to Collateral
(including, without limitation, pursuant to Section 2.6 and the pledge of Additional Security
pursuant to Section 6.16).

       Section 6.14 Reserved.

      Section 6.15 Approved Additional Financing. Give the Bank written notice of the
terms of any Approved Additional Financing not later than twenty (20) days after the
consummation thereof.

       Section 6.16 Appraisal Value.

        Maintain at all times the Appraisal Value of the Vessels at not less than one hundred
seventy-five percent (175%) of the sum of the aggregate outstanding principal amount of the
Loans and the Unused Commitment; provided, however, in the event that the Appraisal Value of
the Vessels shall be less than one hundred seventy-five percent (175%) of such sum (the
difference of such amounts, the “Deficiency”), the Borrower, within ten (10) days after the date
on which the Bank shall have notified the Borrower of such event, shall:

       (i)     prepay the Loans in an amount equal to the Deficiency; or

       (ii)    assign and pledge to the Bank additional security (the “Additional Security”) for
               the payment of the Obligations, such security to be in form, substance and value
               satisfactory to the Bank; or

       (iii)   deposit with the Bank Cash in an amount equal to the difference between the
               Deficiency and the value of the Additional Security pledged to the Bank pursuant
               to clause (ii) hereof, to be held by the Bank as cash collateral for the payment of
               the Obligations, so that the sum of (x) the Appraisal Value of the Vessels, (y) the
               value (as determined by the Bank) of the Additional Security and (z) the amount
               of the cash collateral deposited with the Bank pursuant to this Section 6.16 shall
               be not less than one hundred seventy-five percent (175%) of the sum of the
               aggregate outstanding principal amount of the Loans and the Unused
               Commitment; and provided, further, in calculating such Appraisal Value of
               Vessels an appropriate (in the opinion of the Bank) deduction from any Vessel’s
               Appraisal Value shall be made to compensate for any other indebtedness secured
               by such Vessel.

                                           Article 7.
                                      Negative Covenants.

       While the Loans or the commitment of Bank to make Loans hereunder remain
outstanding, so long as the Borrower is indebted to the Bank, and until payment in full of the


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Note and full and complete performance of all of their other obligations arising hereunder and
the termination of all commitments of Bank to lend funds hereunder, the Borrower shall not and
shall not permit any of their Subsidiaries or any Guarantor to do, agree to do, or permit to be
done, any of the following:

        Section 7.1    Indebtedness.

        Create, incur, permit to exist or have outstanding any Indebtedness, except:

               (a)     Indebtedness of the Borrower to the Bank under this Agreement and the
Note;

                 (b)     (i) Taxes, assessments and governmental charges (A) not more than 90
days past due from the original due date thereof or (B) more than 90 days past due but not more
than 365 days past due from the original due date thereof, so long as such amounts described in
this clause (B) shall be contested in good faith by appropriate proceedings and reserves, if
applicable, in conformity with GAAP with respect thereto have been provided on the books of
the Loan Parties, (ii) non-interest bearing accounts payable (A) not more than 90 days past due
from the original due date thereof or (B) more than 90 days past due but not more than 365 days
past due from the original due date thereof, so long as such amounts described in this clause (B)
shall be contested in good faith by appropriate proceedings and reserves, if applicable, in
conformity with GAAP with respect thereto have been provided on the books of the Loan
Parties, (iii) accrued liabilities not more than 365 days past due from the original due date thereof
and (iv) non-interest bearing deferred liabilities other than for borrowed money (e.g., deferred
compensation and deferred taxes), in each case incurred and continuing in the ordinary course of
business;

                (c)     Indebtedness secured by the security interests referred to in subsection
7.2(b)(iii) and Capitalized Lease Obligations;

               (d)     Indebtedness pursuant to the Affiliate Guaranties;

               (e)     Intentionally Omitted;

               (f)     Intentionally Omitted;

               (g)    Indebtedness of Subsidiaries of the Borrower to it incurred as the result of
advances by the Borrower to such Subsidiaries of working capital (as such term is defined in
Section 2.13 hereof) or for other purposes for which proceeds may be used pursuant to Section
2.13 hereof (“Intercompany Indebtedness”);

               (h)     Indebtedness outstanding on the Closing Date as set forth on Schedule 7.1;

               (i)     Approved Additional Financing; and

               (j)     Indebtedness consisting of accrued expenses, deferred income and taxes.

        Section 7.2    Liens.


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               (a)     Create, incur, assume or suffer to exist upon any Vessel, or the earnings or
insurances thereof, any Liens whatsoever, except:

                      (i)     Liens provided for herein or contemplated hereby;

                     (ii)     Liens for crew’s wages or salvage or Liens adequately covered by
       insurance; and

                    (iii)   Liens arising out of trade debt incurred in the ordinary course of
       business none of which shall be outstanding longer than one hundred eighty (180) days,
       and none of which shall be permitted to have priority over the Liens of the Ship
       Mortgages.

               (b)    Create, or assume or permit to exist, any Lien on any of the properties or
assets of the Borrower or the Guarantors other than the Vessels, whether now owned or hereafter
acquired, except:

                      (i)     Those created and granted by the Security Documents;

                      (ii)    Permitted Liens.

                     (iii)   Purchase money mortgages or security interests, conditional sale
       arrangements and other similar security interests, on motor vehicles, aircraft and
       equipment acquired by the Borrower (hereinafter referred to individually as a “Purchase
       Money Security Interest”) with the proceeds of the Indebtedness referred to in subsection
       7.1(c); provided, however, that:

                              (A)     The transaction in which any Purchase Money Security
                      Interest is proposed to be created is not then prohibited by this Agreement;

                             (B)     Any Purchase Money Security Interest shall attach only to
                      the property or asset acquired in such transaction and shall not extend to or
                      cover any other assets or properties of the Borrower;

                             (C)    The Indebtedness secured or covered by any Purchase
                      Money Security Interest shall not exceed the lesser of the cost or fair
                      market value of the property or asset acquired and shall not be renewed,
                      extended or prepaid from the proceeds of any borrowing by the Borrower;
                      and

                             (D)    The aggregate amount of all Indebtedness secured by
                      Purchase Money Security Interests (in addition to all Additional Approved
                      Financings) shall not at any time exceed Twenty Million Dollars
                      ($20,000,000) at any time outstanding;

                      (iv)    The interests of the lessor under any Capitalized Lease permitted
       hereunder;



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                    (v)     Liens securing (i) the intercompany Indebtedness permitted by
       subsection 7.1(g) as set forth in such subsections, and/or (ii) Approved Additional
       Financing permitted by the terms hereof; and

                      (vi)     As set forth on Schedule 7.2.

       Section 7.3     Guaranties.

        Except for the Affiliate Guaranties and as set forth on Schedule 7.1, assume, endorse, be
or become liable for, or guarantee, the obligations of any Person, except by the endorsement of
negotiable instruments for deposit or collection in the ordinary course of business. For the
purposes hereof, the term “guarantee” shall include any agreement, whether such agreement is
on a contingency or otherwise, to purchase, repurchase or otherwise acquire Indebtedness of any
other Person, or to purchase, sell or lease, as lessee or lessor, property or services, in any such
case primarily for the purpose of enabling another person to make payment of Indebtedness, or to
make any payment (whether as an advance, capital contribution, purchase of an equity interest or
otherwise) to assure a minimum equity, asset base, working capital or other balance sheet or
financial condition, in connection with the Indebtedness of another Person, or to supply funds to
or in any manner invest in another Person in connection with such Person’s Indebtedness.

       Section 7.4     Mergers, Acquisitions.

        Merge or consolidate with any Person (whether or not a Borrower is the surviving entity),
or, except as consented to in writing by the Bank (which consent shall not be unreasonably
withheld), acquire any vessel or acquire all or substantially all of the assets or any of the capital
stock of any Person, other than, so long as no Default or Event of Default exists or would result
therefrom, in connection with an Approved Additional Financing; provided, that if the Borrower
is a party to such an acquisition in connection with an Approved Additional Financing, the
Borrower shall be the surviving entity, and if any other Loan Party (other than the Borrower) is a
party to such an acquisition in connection with an Approved Additional Financing, such Loan
Party will be the surviving entity.

       Section 7.5     Reserved.

       Section 7.6     Stock Issuance.

       Issue any additional shares or any right or option to acquire any shares, or any security
convertible into any shares, of the capital stock of the Borrower or any Guarantor, except (a) in
connection with stock dividends as permitted under subsection 7.5(b) and (b) Borrower shall be
permitted to issue up to 20% of its capital stock, on a fully diluted basis as of the date hereof, to
members of its senior management (other than Morton S. Bouchard, III).

       Section 7.7     Change in Business.

       Make any material change in its business, or in the nature of its operation, or liquidate or
dissolve itself (or suffer any liquidation or dissolution), or convey, sell, lease, assign, transfer or
otherwise dispose of any of its property, assets or business except in the ordinary course of
business and for a fair consideration, or dispose of any shares of stock or any Indebtedness,


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whether now owned or hereafter acquired, or discount, sell, pledge, hypothecate or otherwise
dispose of accounts receivable, or permit the conveyance, sale, lease, assignment, transfer or
disposal of any Vessel or any change in the flag of any Vessel.

       Section 7.8    Prepayments.

       Make any voluntary or optional prepayment of any Indebtedness for borrowed money
incurred or permitted to exist under the terms of this Agreement, other than Indebtedness
evidenced by the Note or otherwise owed to the Bank or any of its Affiliates under an agreement
which by its terms permits such voluntary or optional prepayment or in connection with any
Additional Approved Financing.

       Section 7.9    Investments.

        Make, or suffer to exist, any Investment in any Person, including, without limitation, any
Affiliate, shareholder, director, officer or employee of either Borrower or any of the Guarantors,
except:

               (a)    Investments in:

                     (i)      obligations issued or guaranteed by the United States of America;

                     (ii)    certificates of deposit, bankers acceptances and other “money
       market instruments” issued by any bank or trust company organized under the laws of the
       United States of America or any State thereof and having capital and surplus in an
       aggregate amount of not less than $500,000,000;

                      (iii) open market commercial paper bearing the highest credit rating
       issued by Standard & Poor’s Corporation or by another nationally recognized credit
       rating agency;

                      (iv)    repurchase agreements entered into with any bank or trust
       company organized under the laws of the United States of America or any State thereof
       and having capital and surplus in an aggregate amount of not less than $500,000,000
       relating to United States of America government obligations; and

                     (v)     shares of “money market funds”, each having net assets of not less
       than $500,000,000; in each case maturing or being due or payable in full not more than
       180 days after the Borrower’s acquisition thereof;

               (b)     Investments by the Borrower in any Subsidiary thereof if, and only if: (i)
at the time of such Investment and after giving effect thereto, no Event of Default shall exist
hereunder, and (ii) such Investments arc used for the purpose of constructing new double hulled
barges or new tugs or retrofitting to double hulls existing vessels;

              (c)    Provided that no Default or Event of Default shall have occurred and be
continuing or would result therefrom, Investments in the form of loans to shareholders of the
Borrower and its Subsidiaries (the “Affiliated Group”), provided that: (1) the outstanding


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principal amount of all such loans to all such shareholders which are made for purposes other
than those described in sub-sections (c)(2) and (c)(3) herein shall not exceed Twenty Million
Dollars ($20,000,000.00) in the aggregate, (2) notwithstanding the provisions described in
subsection (c)(1) herein, there shall for the purposes of this proviso be permitted loans to
members of the Affiliated Group which are not Guarantors for either of the following purposes:
(i) to pay all or any portion of the purchase price of any new vessels which are owned by such
member or members, or (ii) to capitalize any new corporations which are wholly owned by such
member or members, and (3) notwithstanding the provision described in sub-section (b)(1)
hereof, there shall be permitted without limit on the aggregate amount thereof loans used to pay
the premiums owing on any life and/or disability insurance policies on Morton S. Bouchard, Ill,
and/or any members of his immediate families. Notwithstanding the foregoing provisions of this
subsection 7.9(b) and in addition to the Investments in the form of Loans to the Affiliated Group
permitted by the foregoing sentence, Investments by members of the Affiliated Group in the form
of loans to shareholders of Borrower the proceeds of which were used to capitalize members of
the Affiliated Group purchasing double hulled vessels and/or tugs shall not be deemed to be in
violation of this subsection 7.9(c) provided, however, that no Investment permitted by the terms
of the foregoing sentence, nor permitted by subclause (2) of this clause (b), shall be deemed so
permitted if the obligor to whom any such loan is made or the entity in which any such
Investment is made shall incur any Indebtedness to, or suffer to exist any Lien on its property in
favor of, any bank or financial institution, which indebtedness is not permitted pursuant to
Section 7.1 hereof;

               (d)    Intercompany Indebtedness permitted under Subsection 7.1(g) hereof; and

               (e)    any advance, loan or extension of credit to any employee of any Loan
Party made in the ordinary course of the Loan Parties’ business, so long as all such advances and
loans from all Loan Parties do not exceed $500,000 at any time outstanding.

       Section 7.10 Fiscal Year.

       Change its fiscal year.

       Section 7.11 ERISA Obligations.

                (a)    Establish, or permit any Loan Party or ERISA Affiliate to establish,
maintain, operate or participate in any Employee Benefit Plan or Multiemployer Plan other than
as set forth on Schedule 3.18; or

               (b)     Fail, or permit any Loan Party or ERISA Affiliate to fail, to make any
contribution or payment to any Employee Benefit Plan or Multiemployer Plan, required to be
made by it the result of which could result in a Material Adverse Effect on the Borrower or any
other Loan Party or any ERISA Affiliate; or

                (c)     Fail, or permit any Loan Party or ERISA Affiliate to fail, to establish,
maintain and operate each Employee Benefit Plan in compliance in all material respects with the
provisions of ERISA, the Code and all other applicable laws and the regulations and
interpretations thereof.



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       Section 7.12 Amendments of Documents.

       Modify, amend, supplement or terminate, or agree to modify, amend, supplement or
terminate, its certificate of incorporation or by-laws or the certificate of incorporation or by-laws
of any Guarantor.

       Section 7.13 Reserved.

       Section 7.14 Reserved.

       Section 7.15 Use of Cash.

       Use, or permit to be used, in any manner or to any extent, any of the Borrower’s Cash for
the benefit of any Person, except: (a) in connection with the payment or prepayment of expenses
(other than capital expenditures) directly incurred for the benefit of the Borrower and its
Subsidiaries in the maintenance and operation of their business, in each case only in the ordinary
course of its business, (b) for capital expenditures, (c) for the payment (but not prepayment,
except to the extent permitted by this Agreement) of scheduled required payments of principal
and interest on Indebtedness of the Borrower permitted to exist hereunder, (d) so long as no
Default or Event of Default exists or would exist after giving effect thereto, distributions to
Borrower’s shareholders, and (e) for uses that are otherwise specifically permitted by this
Agreement.

       Section 7.16 Hedging Transactions.

        Unless otherwise agreed to by the Bank, enter into any hedging transactions (including,
without limitation, rate swap transactions, credit derivative transactions, commodity contracts,
collar transactions and all transactions and related confirmations subject to any form of master
agreement); provided, that in the event any such transaction shall be permitted under this
Agreement, the net obligations under any such transaction shall be included in the calculation of
the Loan Parties’ Indebtedness for all purposes under this Agreement.

       Section 7.17 Transactions with Affiliates.

        Except as expressly permitted by this Agreement, directly or indirectly: (a) make any
Investment in an Affiliate: (b) transfer, sell, lease, assign or otherwise dispose of any assets to an
Affiliate; (c) merge into or consolidate with or purchase or acquire assets from an Affiliate; or
(d) enter into any other transaction directly or indirectly with or for the benefit of any Affiliate
(including, without limitation, guarantees and assumptions of obligations of an Affiliate)
provided, however, that: (i) payments on Investments expressly permitted by Section 7.9 hereof
may be made, (ii) any Affiliate who is a natural person may serve as an employee or director of
the Borrower and receive reasonable compensation for his services in such capacity, and (iii) the
Borrower may enter into any transaction with an Affiliate providing for the leasing of property,
the rendering or receipt of services or the purchase or sale of product, inventory and other assets
in the ordinary course of business if the monetary or business consideration arising therefrom
would be substantially as advantageous to the Borrower as the monetary or business
consideration that would obtain in a comparable arm’s length transaction with a Person not an
Affiliate.


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       Section 7.18 Hazardous Material.

                 (a)     Cause or permit any Hazardous Material or oil (as defined under OPA) to
be used, stored, treated, transported, Discharged or disposed of in violation of any applicable
Environmental Laws and Regulations such that an Environmental Liability could arise under any
Environmental Laws and Regulations which could (i) have a Material Adverse Effect on the
Borrower or any other Loan Party or (ii) materially adversely affect the value of any Vessel or
the validity, priority or enforceability of the Bank’s Lien thereon.

                 (b)     The Borrower acknowledges and agrees that the Bank shall have no
liability or responsibility for either:

                      (i)     damage, loss or injury to human health, the environment or natural
       resources caused by the presence, disposal, Release, threatened Release, Discharge or
       threat of Discharge of Hazardous Materials or oil (as defined under OPA); or

                     (ii)    abatement, removal and/or clean-up required under any applicable
       Environmental Laws and Regulations for a Release, threatened Release, Discharge, threat
       of Discharge or disposal of any Hazardous Materials or oil (as defined under OPA)
       transported by or used by or in connection with the Borrower’s or any Subsidiary’s or any
       Guarantor’s business.

       Section 7.19 Certain Negative Covenants Relating to the Vessels.

       Do any act or voluntarily suffer or permit any act to be done whereby any insurance
required hereunder or under any of the Ship Mortgages shall or may be suspended, impaired or
defeated, or suffer or permit any Vessel to engage in any voyage or carry any cargo not permitted
under the policies of insurance then in effect covering such Vessel.

                                           Article 8.
                                        Events of Default

        If any one or more of the following events (“Events of Default”) shall occur and be
continuing, the entire unpaid balance of the principal of and interest on the Note outstanding and
all other obligations and Indebtedness of the Borrower to the Bank arising hereunder and under
the other Loan Documents shall immediately become due and payable upon written notice to that
effect given to the Borrower by the Bank (except that in the case of the occurrence of any Event
of Default described in Section 8.6 no such notice shall be required and all such amounts shall
thereupon automatically become immediately due and payable), without presentment or demand
for payment, notice of non-payment, protest or further notice or demand of any kind, all of which
are expressly waived by the Borrower:

       Section 8.1    Payments.

      Failure to make any payment or mandatory prepayment of principal or interest upon the
Note within five (5) days after the date when due; or

       Section 8.2    Certain Covenants.


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               (a)    Failure to perform or observe any of the covenants or other agreements
contained in Sections 6.4, 6.9 or Article 7 hereof; or

             (b)       The occurrence of an Event of Default under and as defined in any of the
Ship Mortgages; or

       Section 8.3     Other Covenants.

               (a)     Failure by any Borrower to perform or observe any of the covenants or
other agreements contained in Sections 5.1, 5.2 or 5.6 hereof, which shall remain unremedied for
a period (after notice thereof shall have been given to the Borrower by the Bank) of ten (10)
days; or

               (b)    Failure by any Borrower to perform or observe any other term, condition
or covenant of this Agreement or of any of the other Loan Documents to which it is a party,
which shall remain unremedied for a period (after notice thereof shall have been given to the
Borrower by the Bank) of thirty (30) days; provided, however, that in the event such Borrower
shall have made a diligent effort to cure such default and such default shall not be susceptible of
a cure within such 30-day period, then no Event of Default shall be deemed to have occurred
hereunder until the expiration of 60 days from the date of notice from the Bank to such Borrower
with respect thereto so long as such Borrower continues diligently and in good faith (as
determined by the Bank in its sole discretion) to attempt to cure such default; or

                (c)     Failure by any Loan Party other than the Borrower to perform or observe
any term, condition or covenant of any of the Loan Documents (other than the Ship Mortgages)
to which it is a party, which shall remain unremedied for a period of thirty (30) days after notice
thereof shall have been given to the Borrower by the Bank; or

       Section 8.4     Other Defaults.

               (a)    Failure to perform or observe any term, condition or covenant of any
bond, note, debenture, loan agreement, indenture, guaranty, trust agreement, mortgage or similar
instrument to which Borrower is a party or by which it is bound, or by which any of its properties
or assets may be affected (each, a “Debt Instrument”), so that, as a result of any such failure to
perform, the Indebtedness included therein or secured or covered thereby may be declared due
and payable prior to the date on which such Indebtedness would otherwise become due and
payable; or

                (b)      Any event or condition referred to in any Debt Instrument shall occur or
fail to occur, so that, as a result thereof, the Indebtedness included therein or secured or covered
thereby may be declared due and payable prior to the date on which such Indebtedness would
otherwise become due and payable; or

               (c)   Failure to pay any Indebtedness for borrowed money due at final maturity
or pursuant to demand under any Debt Instrument; or

       Section 8.5     Representations and Warranties.



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       Any representation or warranty made in writing to the Bank in any of the Loan
Documents or in connection with the making of the Loan, or any certificate, statement or report
made or delivered in compliance with this Agreement, shall have been false or misleading in any
material respect when made or delivered; or

       Section 8.6     Bankruptcy.

                 (a)     Any Borrower or any Guarantor shall make an assignment for the benefit
of creditors, file a petition in bankruptcy, be adjudicated insolvent, petition or apply to any
tribunal for the appointment of a receiver, custodian, or any trustee for it or a substantial part of
its assets, or shall commence any proceeding under any bankruptcy, reorganization, arrangement,
readjustment of debt, dissolution or liquidation law or statute of any jurisdiction, whether now or
hereafter in effect, or any Borrower or any Guarantor shall take any corporate action to authorize
any of the foregoing actions; or there shall have been filed any such petition or application, or
any such proceeding shall have been commenced against it, that remains undismissed for a
period of thirty (30) days or more; or any order for relief shall be entered in any such proceeding;
or any Borrower or any Guarantor by any act or omission shall indicate its consent to, approval
of or acquiescence in any such petition, application or proceeding or the appointment of a
custodian, receiver or any trustee for it or any substantial part of any of its properties, or shall
suffer any custodianship, receivership or trusteeship to continue undischarged for a period of
thirty (30) days or more; or

              (b)    Any Borrower or any Guarantor shall generally not pay its debts as such
debts become due: or

                (c)     Any Borrower or any Guarantor shall have concealed, removed, or
permitted to be concealed or removed, any part of its property, with intent to hinder, delay or
defraud its creditors or any of them or made or suffered a transfer of any of its property that may
be fraudulent under any bankruptcy, fraudulent conveyance or similar law; or shall have made
any transfer of its property to or for the benefit of a creditor at a time when other creditors
similarly situated have not been paid; or shall have suffered or permitted, while insolvent, any
creditor to obtain a Lien upon any of its property through legal proceedings or distraint that is not
vacated within thirty (30) days from the date thereof; or

       Section 8.7     Judgments.

        Any judgment against any Borrower or any Guarantor or Subsidiary of any Borrower or
any attachment, levy or execution against any of their respective properties (other than the
Vessels) for any amount in excess of $1,500,000 shall remain unpaid, unstayed on appeal,
undischarged, unbonded or undismissed for a period of sixty (60) days or more unless such
judgment is fully covered by insurance as to which the insurance company has acknowledged its
obligation to pay such judgment in full; or

       Section 8.8     ERISA.

                (a)    The termination of any Employee Benefit Plan or Multiemployer Plan or
the institution by the PBGC of proceedings for the involuntary termination of any Employee



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Benefit Plan or Multiemployer Plan, in either case, by reason of, or that results or could result in,
a “material accumulated funding deficiency” under Section 412 of the Code; or

              (b)     Failure by any Borrower or any Guarantor to make required contributions,
in accordance with the applicable provisions of ERISA, to each of the Employee Benefit Plans or
Multiemployer Plans hereafter established or assumed by it; or

       Section 8.9     Ownership of Stock.

        Morton S. Bouchard, III, members of his immediate family and trusts established for the
benefit of his immediate family shall at any time own, beneficially and of record, directly or
indirectly, less than 80% in the aggregate of all of the issued and outstanding shares of capital
stock of the Borrower and each of its Subsidiaries, having ordinary voting rights for the election
of directors; or

       Section 8.10 Management.

        Morton S. Bouchard, III, shall cease for any reason whatsoever, including, without
limitation, death or disability (as such disability shall be determined in the sole and absolute
judgment of the Bank) to be and continuously perform the duties of chief executive officer and
chief operating officer, respectively, of the Borrower or, if such cessation shall occur as a result
of the death or such disability, no successor satisfactory to the Bank, in its sole discretion, shall
have become and shall have commenced to perform the duties of chief executive officer and
chief operating officer, as the case may be, of any Borrower within one hundred eighty (180)
days after such cessation; provided, however, that if any satisfactory successor shall have been so
elected and shall have commenced performance of such duties within such period, the name of
such successor or successors shall be deemed to have been inserted in place of Morton S.
Bouchard, III, as applicable, in this Section 8.10 and provided, further, that the Bank hereby
acknowledges and agrees that the following is and shall remain satisfactory to the Bank: in the
event of the death or incapacity of Morton S. Bouchard, the Trustees of the Morton S. Bouchard
Revocable Trust u/a/d July 10, 1999 (who are currently intended to be his wife, Ms. Linda Lee
Bouchard and Mr. Michael Gawyrch) will have complete authority to exercise the voting rights
over the shares of stock in the Borrower; or

       Section 8.11 Liens.

        Any of the Liens created and granted to the Bank under the Security Documents shall fail
to be valid, first (except where the Bank is otherwise the holder of the first), perfected Liens,
subject to no prior or equal Lien, except as permitted by Section 7.2; or

       Section 8.12 The Vessels.

               (a)     A proceeding shall have been commenced on behalf of the United States
of America to effect the forfeiture of any of the Vessels or any notice shall have been issued on
behalf of the United States of America of the seizure of any of the Vessels or to the effect that the
Certificate of Documentation of any of the Vessels is subject to cancellation or revocation, for
any reason whatsoever and the Borrower shall have failed within thirty (30) days of the
occurrence thereof to have assigned and pledged to the Bank, or cause to have assigned and


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pledged to the Bank, additional collateral having an aggregate value (as determined by the Bank
in its sole discretion) at least equal to the agreed value (as set forth on Schedule 3.5) of such
Vessel or Vessels in accordance with Section 2.5; or

              (b)    Any Borrower or any Guarantor shall lose its status as a citizen of the
United States of America for the purpose of operating vessels in the coastwise trade in
accordance with Section 2 of the Shipping Act.

        At any time while an Event of Default shall be continuing, the Bank may declare, by
notice to the Borrower, the Commitment terminated at once and the Notes hereunder to be
forthwith due and payable, whereupon the Commitment shall be terminated and the principal
amount of the Notes, together with accrued interest thereon and all other amounts owing under
this Agreement, shall become immediately due and payable without presentment, demand,
protest or other notice of any kind, all of which are hereby expressly waived, anything contained
herein or in such Note to the contrary notwithstanding, and the Bank shall be entitled to exercise
such other rights and remedies as provided under the Loan Documents and under applicable law;
provided, however, that if any Event of Default of the type specified in Section 8.6 above shall
occur then such termination of the Commitment and acceleration of the Notes shall occur
automatically upon the happening of such event without the necessity of any such declaration.

                                            Article 9.
                                    Miscellaneous Provisions

       Section 9.1    Fees and Expenses; Indemnity.

        The Borrower will promptly pay all reasonable costs of the Bank in preparing the Loan
Documents and any amendments, modifications or waivers of the provisions thereof and all costs
and expenses of the issue of the Note (including, without limitation, reasonable fees of counsel to
the Bank and the disbursements of counsel in respect of the Closing) and of the Borrower’s and
the other Loan Parties’ performance of and compliance with all agreements and conditions
contained herein on its part to be performed or complied with (including, without limitation, all
costs of filing or recording any assignments, mortgages, financing statements and other
documents and all appraisal and environmental review fees and expenses (except as otherwise
expressly provided for herein)), and the reasonable fees and expenses and disbursements of
counsel to the Bank in connection with the administration, interpretation and enforcement of this
Agreement, the other Loan Documents and all other agreements, instruments and documents
relating to this transaction, the consummation of the transactions contemplated by all such
documents, the preservation of all rights of the Bank, the negotiation, preparation, execution and
delivery of any amendment, modification or supplement of or to, or any consent or waiver under,
any such document (or any such instrument that is proposed but not executed and delivered) and
with any claim or action threatened, made or brought against the Bank arising out of or relating
to any extent to this Agreement, the other Loan Documents or the transactions contemplated
hereby or thereby. In addition, the Borrower will promptly pay all costs and expenses
(including, without limitation, reasonable fees and disbursements of counsel) suffered or
incurred by the Bank in connection with its enforcement of the payment of the Note or any other
sum due to it under this Agreement or any of the other Loan Documents or any of its other rights
hereunder or thereunder. In addition to the foregoing, the Borrower shall indemnify the Bank


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and each of its directors, officers, employees, attorneys, agents and Affiliates against, and hold
each of them harmless from, any loss, liabilities, damages, claims, costs and expenses (including
reasonable attorneys’ fees and disbursements) suffered or incurred by any of them arising out of,
resulting from or in any manner connected with, the execution, delivery and performance of each
of the Loan Documents, the Loans and any and all transactions related to or consummated in
connection with the Loans, including, without limitation, losses, liabilities, damages, claims,
costs and expenses suffered or incurred by the Bank or any of its directors, officers, employees,
attorneys, agents or Affiliates arising out of or related to any Environmental Liability or
Environmental Proceeding, or in investigating, preparing for, defending against, or providing
evidence, producing documents or taking any other action in respect of any commenced or
threatened litigation, administrative proceeding or investigation under any federal securities law
or any other statute of any jurisdiction, or any regulation, or at common law or otherwise against
the Bank or any of its officers, directors, affiliates, agents or Affiliates. The indemnity set forth
herein shall be in addition to any other obligations or liabilities of the Borrower to the Bank
hereunder or at common law or otherwise. The provisions of this Section 9.1 shall survive the
payment of the Note and the termination of this Agreement.

       Section 9.2     Taxes.

        If, under any law in effect on the Closing Date, or under any retroactive provision of any
law subsequently enacted, it shall be determined that any federal, state or local tax is payable in
respect of the issuance of the Note, or in connection with the filing or recording of any
assignments, mortgages, financing statements, or other documents (whether measured by the
amount of Indebtedness secured or otherwise) as contemplated by this Agreement, then the
Borrower will pay any such tax and all interest and penalties, if any, and will indemnify the Bank
against and save it harmless from any loss or damage resulting from or arising out of the
nonpayment or delay in payment of any such tax. If any such tax or taxes shall be assessed or
levied against the Bank or any other holder of any Note, the Bank, or such other holder, as the
case may be, may notify the Borrower and make immediate payment thereof, together with
interest or penalties in connection therewith, and shall thereupon be entitled to and shall receive
immediate reimbursement therefor from the Borrower. Notwithstanding any other provision
contained in this Agreement, the covenants and agreements of the Borrower in this Section 9.2
shall survive payment of any Note and the termination of this Agreement.

       Section 9.3     Payments.

        As set forth in Article 2 hereof, all payments by the Borrower on account of principal,
interest, fees and other charges (including any indemnities) shall be made to the Bank at the
Payment Office of the Bank, in lawful money of the United States of America in immediately
available funds, by wire transfer or otherwise, not later than 4:00 p.m. New York City time on
the date such payment is due. Any such payment made on such date but after such time shall, if
the amount paid bears interest, be deemed to have been made on, and interest shall continue to
accrue and be payable thereon until, the next succeeding Business Day. If any payment of
principal or interest becomes due on a day other than a Business Day, such payment may be
made on the next succeeding Business Day and such extension shall be included in computing
interest in connection with such payment. All payments hereunder and under any Note shall be
made without set-off or counterclaim and in such amounts as may be necessary in order that all


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such payments shall not be less than the amounts otherwise specified to be paid under this
Agreement and such Note (after withholding for or on account of: (i) any present or future taxes,
levies, imposts, duties or other similar charges of whatever nature imposed by any government or
any political subdivision or taxing authority thereof, other than any tax (except those referred to
in clause (ii) below) on or measured by the net income of the Bank to which any such payment is
due pursuant to applicable federal, state and local income tax laws, and (ii) deduction of amounts
equal to the taxes on or measured by the net income of the Bank payable by the Bank with
respect to the amount by which the payments required to be made under this sentence exceed the
amounts otherwise specified to be paid in this Agreement and the Note). Upon payment in full
of any Note, the Bank shall mark the Note “Paid” and return it to the Borrower.

       Section 9.4     Survival of Agreements and Representations; Construction.

       All agreements, representations and warranties made herein shall survive the delivery of
this Agreement and the Notes. The headings used in this Agreement and the table of contents are
for convenience only and shall not be deemed to constitute a part hereof. All uses herein of the
masculine gender or of singular or plural terms shall be deemed to include uses of the feminine
or neuter gender, or plural or singular terms, as the context may require.

       Section 9.5     Lien on and Set-off of Deposits.

       As security for the due payment and performance of all the Obligations, the Borrower
hereby grants to the Bank a Lien on any and all deposits or other sums at any time credited by or
due from the Bank to the Borrower, whether in regular or special depository accounts or
otherwise, and any and all monies, securities and other property of the Borrower, and the
proceeds thereof, now or hereafter held or received by or in transit to the Bank from or for the
Borrower, whether for safekeeping, custody, pledge, transmission, collection or otherwise, and
any such deposits, sums, monies, securities and other property, may at any time after the
occurrence and during the continuance of any Event of Default be set-off, appropriated and
applied by the Bank against any of the Obligations, whether or not any of such Obligations is
then due or is secured by any collateral, or, if it is so secured, whether or not the collateral held
by the Bank is considered to be adequate.

       Section 9.6     Modifications, Consents and Waivers; Entire Agreement.

        No modification, amendment or waiver of or with respect to any provision of this
Agreement, any Note, the Security Documents, or any of the other Loan Documents and all other
agreements, instruments and documents delivered pursuant hereto or thereto, nor consent to any
departure by the Borrower from any of the terms or conditions thereof, shall in any event be
effective unless it shall be in writing and signed by the Bank. Any such waiver or consent shall
be effective only in the specific instance and for the purpose for which given. No consent to or
demand on the Borrower in any case shall, of itself, entitle them to any other or further notice or
demand in similar or other circumstances. This Agreement and the other Loan Documents
embody the entire agreement and understanding between the Bank and the Borrower and
supersede all prior agreements and understandings, whether written or oral, relating to the
subject matter hereof and no party hereto is relying on any promise, agreement or undertaking
not set forth in this Agreement.


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       Section 9.7     Remedies Cumulative; Counterclaims.

        Each and every right granted to the Bank hereunder or under any other document
delivered hereunder or in connection herewith, or allowed it by law, equity or admiralty, shall be
cumulative and may be exercised from time to time. No failure on the part of the Bank or the
holder of any Note to exercise, and no delay in exercising, any right shall operate as a waiver
thereof, nor shall any single or partial exercise of any right preclude any other or future exercise
thereof or the exercise of any other right. The due payment and performance of the Obligations
shall be without regard to any counterclaim, right of offset or any other claim whatsoever that the
Borrower may have against any Bank and without regard to any other obligation of any nature
whatsoever that the Bank may have to the Borrower, and no such counterclaim or offset shall be
asserted by the Borrower (unless such counterclaim or offset would, under applicable law, be
permanently and irrevocably lost if not brought in such action) in any action, suit or proceeding
instituted by the Bank for payment or performance of the Obligations.

       Section 9.8     Further Assurances.

        At any time and from time to time, upon the request of the Bank, the Borrower shall
execute, deliver and acknowledge or cause to be executed, delivered and acknowledged, such
further documents, instruments and assurances and do such other acts and things as the Bank
may reasonably request in order to fully effect the purposes of this Agreement, the other Loan
Documents and any other agreements, instruments and documents delivered pursuant hereto or
in connection with the Loans, including, without limitation, the execution and delivery to the
Bank of mortgages in form and substance satisfactory to the Bank covering all property or
interests therein acquired by the Borrower, and all leases of property entered into by the
Borrower as tenant or lessee, after the date of this Agreement, promptly after such acquisition or
the entering into of any such lease. Upon receipt of an affidavit of an officer of Bank as to the
loss, theft, destruction or mutilation of any Note or any other security document which is not of
public record, and, in the case of any such loss, theft, destruction or mutilation, upon cancellation
of such Note or other security document, Borrower will issue, in lieu thereof, a replacement note
or other security document in the same principal amount thereof and otherwise of like tenor.

       Section 9.9     Notices.

        All notices, requests, reports and other communications pursuant to this Agreement shall
be in writing, either by letter (delivered by hand or commercial messenger service or sent by
certified mail, return receipt requested, except for routine reports delivered in compliance with
Article S which may be sent by ordinary first-class mail) or telegram or telecopy, addressed as
follows:

               (a)     If to the Borrower:

                       c/o Bouchard Transportation Co., Inc.
                       58 S. Service Drive
                       Suite 150
                       Melville, New York 11747
                       Attention: Mr. Morton S. Bouchard, III



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                      Telecopier No.: (631) 390-4955

                      with a copy to:

                      Stephen I. Siller, Esq.
                      LeClairRyan, A Professional Corporation
                      885 Third Avenue — 16th Floor
                      New York, New York 10022
                      Telecopier No.: (212) 430-8065

              (b)     If to the Bank:

                      Wells Fargo Bank, National Association
                      58 S. Service Road, Suite 100
                      Melville, NY 11747
                      Attention: Edward P. Nallan, Jr.
                      Telecopier No.: 516-577-8333


                      with a copy (other than in the case of Borrowing
                      Notices, Conversion Notices and reports and other
                      documents delivered in compliance with Article 5
                      hereof) to:

                      King & Spalding LLP
                      100 N. Tryon St.
                      Charlotte, North Carolina
                      Attention: Justin Riess
                      Telecopier No.: (704) 503-2622

Any notice, request, demand or other communication hereunder shall be deemed to have been
given on: (x) the day on which it is telecopied to such party at its telecopier number specified
above (provided such notice shall be effective only if followed by one of the other methods of
delivery set forth herein) or delivered by receipted hand or such commercial messenger service
to such party at its address specified above, or (y) on the third Business Day after the day
deposited in the mail, postage prepaid, if sent by mail, or (z) on the day it is delivered to the
telegraph company, addressed as aforesaid, if sent by telegraph. Any party hereto may change
the Person, address or telecopier number to whom or which notices are to be given hereunder, by
notice duly given hereunder; provided, however, that any such notice shall be deemed to have
been given hereunder only when actually received by the party to which it is addressed.

       Section 9.10 Counterparts,

        This Agreement may be signed in any number of counterparts with the same effect as if
the signatures thereto and hereto were upon the same instrument.

       Section 9.11 Severability.


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        The provisions of this Agreement are severable, and if any clause or provision hereof
shall be held invalid or unenforceable in whole or in part in any jurisdiction, then such invalidity
or unenforceability shall affect only such clause or provision, or part thereof, in such jurisdiction
and shall not in any manner affect such clause or provision in any other jurisdiction, or any other
clause or provision in this Agreement in any jurisdiction. Each of the covenants, agreements and
conditions contained in this Agreement is independent and compliance by the Borrower with any
of them shall not excuse non-compliance by the Borrower with any other. All covenants
hereunder shall be given independent effect so that if a particular action or condition is not
permitted by any of such covenants, the fact that it would be permitted by an exception to, or be
otherwise within the limitations of, another covenant shall not avoid the occurrence of a Default
or an Event of Default if such action is taken or condition exists.

       Section 9.12 Binding Effect; No Assignment or Delegation by Borrower.

        This Agreement shall be binding upon and inure to the benefit of the Borrower and its
successors and to the benefit of the Bank and its successors and assigns. The rights and
obligations of the Borrower under this Agreement shall not be assigned or delegated without the
prior written consent of the Bank, and any purported assignment or delegation without such
consent shall be void.

     Section 9.13 GOVERNING LAW; CONSENT TO JURISDICTION: WAIVER OF
TRIAL BY JURY.

           (a)  THIS AGREEMENT, THE OTHER LOAN DOCUMENTS AND ALL
OTHER DOCUMENTS AND INSTRUMENTS EXECUTED AND DELIVERED IN
CONNECTION HEREWITH AND THEREWITH (OTHER THAN THE SHIP MORTGAGES),
SHALL BE GOVERNED BY, AND CONSTRUED AND INTERPRETED IN ACCORDANCE
WITH, THE LAWS OF THE STATE OF NEW YORK WITHOUT REGARD TO ITS RULES
PERTAINING TO CONFLICTS OF LAWS.

           (b)   THE BORROWER IRREVOCABLY CONSENTS THAT ANY LEGAL
ACTION OR PROCEEDING AGAINST IT UNDER, ARISING OUT OF OR IN ANY
MANNER RELATING TO THIS AGREEMENT, AND EACH OTHER LOAN DOCUMENT
MAY BE BROUGHT IN ANY COURT OF THE STATE OF NEW YORK, COUNTY OF NEW
YORK, OR IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT
OF NEW YORK OR ANY JURISDICTION WHERE A VESSEL MAY BE FOUND. THE
BORROWER, BY THE EXECUTION AND DELIVERY OF THIS AGREEMENT,
EXPRESSLY AND IRREVOCABLY ASSENTS AND SUBMITS TO THE PERSONAL
JURISDICTION OF ANY OF SUCH COURTS IN ANY SUCH ACTION OR PROCEEDING.
THE BORROWER FURTHER IRREVOCABLY CONSENTS TO THE SERVICE OF ANY
COMPLAINT, SUMMONS, NOTICE OR OTHER PROCESS RELATING TO ANY SUCH
ACTION OR PROCEEDING BY DELIVERY THEREOF TO IT BY HAND OR BY MAIL IN
THE MANNER PROVIDED FOR IN SECTION 9.9. THE BORROWER HEREBY
EXPRESSLY AND IRREVOCABLY WAIVES ANY CLAIM OR DEFENSE IN ANY SUCH
ACTION OR PROCEEDING BASED ON ANY ALLEGED LACK OF PERSONAL
JURISDICTION, IMPROPER VENUE OR FORUM NON CONVENIENS OR ANY SIMILAR
BASIS. NOTHING IN THIS SECTION 9.13 SHALL AFFECT OR IMPAIR IN ANY


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MANNER OR TO ANY EXTENT THE RIGHT OF THE BANK TO COMMENCE LEGAL
PROCEEDINGS OR OTHERWISE PROCEED AGAINST SUCH BORROWER IN ANY
JURISDICTION OR TO SERVE PROCESS IN ANY MANNER PERMITTED BY LAW.

           (c)  EACH OF THE BORROWER AND THE BANK WAIVES TRIAL BY
JURY IN ANY LITIGATION IN ANY COURT WITH RESPECT TO, IN CONNECTION
WITH, OR ARISING OUT OF, THIS AGREEMENT, ANY OF THE OTHER LOAN
DOCUMENTS, OR ANY INSTRUMENT OR DOCUMENT DELIVERED PURSUANT TO
THIS AGREEMENT, OR THE VALIDITY, PERFECTION, INTERPRETATION,
COLLECTION OR ENFORCEMENT THEREOF, OR ANY COURSE OF CONDUCT,
COURSE OF DEALINGS, STATEMENTS (WHETHER VERBAL OR WRITTEN) OR
ACTIONS OF ANY PARTY, INCLUDING, WITHOUT LIMITATION, ANY COURSE OF
CONDUCT, COURSE OF DEALINGS, STATEMENTS OR ACTIONS OF BANK RELATING
TO THE ADMINISTRATION OF THE LOAN OR ENFORCEMENT OF THE LOAN
DOCUMENTS, AND AGREE THAT NEITHER PARTY WILL SEEK TO CONSOLIDATE
ANY SUCH ACTION WITH ANY OTHER ACTION IN WHICH A JURY TRIAL CANNOT
BE OR HAS NOT BEEN WAIVED. EXCEPT AS PROHIBITED BY LAW, THE BORROWER
HEREBY WAIVES ANY RIGHT IT MAY HAVE TO CLAIM OR RECOVER IN ANY
LITIGATION ANY SPECIAL, EXEMPLARY, PUNITIVE OR CONSEQUENTIAL
DAMAGES OR ANY DAMAGES OTHER THAN, OR IN ADDITION TO, ACTUAL
DAMAGES. BORROWER CERTIFIES THAT NO REPRESENTATIVE, AGENT OR
ATTORNEY OF BANK HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT BANK
WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING
WAIVER. THIS WATER CONSTITUTES A MATERIAL INDUCEMENT FOR BANK TO
ACCEPT ANY NOTE AND MAKE ANY LOAN PROVIDED FOR HEREIN.

               (d)     The Bank may at any time pledge or assign all or any portion of its rights
under the loan documents including any portion of the Notes or either of them to any of the
twelve (12) Federal Reserve Banks organized under Section 4 of the Federal Reserve Act, 12
U.S.C. Section 341. No such pledge or assignment or enforcement thereof shall release Bank
from its obligations under any of the Loan Documents.

       Section 9.14 Assignments and Participations by the Bank.

                (a)     The Bank shall, at no expense to Borrower, have the unrestricted right at
any time or from time to time, and without Borrower’s or any Guarantor’s consent, to assign all
or any portion of its rights and obligations hereunder to one or more banks or other financial
institutions (each, an “Assignee”), and Borrower and each Guarantor agree that it shall execute,
or cause to be executed, such documents, including without limitation, amendments to this
Agreement and to any other documents, instruments and agreements executed in connection
herewith as Bank shall deem necessary to effect the foregoing. In addition, at the request of
Bank and any such Assignee, Borrower shall issue one or more new promissory notes, as
applicable, to any such Assignee and, if Bank has retained any of its rights and obligations
hereunder following such assignment, to Bank, which new promissory notes shall be issued in
replacement of, but not in discharge of, the liability evidenced by the promissory note held by
Bank prior to such assignment and shall reflect the amount of the respective commitments and
loans held by such Assignee and Bank after giving effect to such assignment. Upon the


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execution and delivery of appropriate assignment documentation, amendments and any other
documentation required by Bank in connection with such assignment, and the payment by
Assignee of the purchase price agreed to by Bank, and such Assignee, such Assignee shall be a
party to this Agreement and shall have all of the rights and obligations of Bank hereunder (and
under any and all other guaranties, documents, instruments and agreements executed in
connection herewith) to the extent that such rights and obligations have been assigned by Bank
pursuant to the assignment documentation between Bank and such Assignee, and Bank shall be
released from its obligations hereunder and thereunder to a corresponding extent. Borrower may
furnish any information concerning Borrower in its possession from time to time to prospective
Assignees, provided that Bank shall require any such prospective Assignees to agree to maintain
the confidentiality of such information in accordance with Section 9.16 hereof.

               (b)     The Bank may sell participations to one or more banks or other entities
(each a “Participant”) in all or a portion of its rights and obligations under this Agreement
(including, without limitation, all or a portion of the Commitment, the Loans and the Notes). In
the event of any such grant by Bank of a participating interest to a Participant, whether or not
upon notice to Borrower, Bank shall remain responsible for the performance of its obligations
hereunder and Borrower shall continue to deal solely and directly with Bank in connection with
Bank’s rights and obligations hereunder.

               (c)    The Bank may, in connection with any assignment or participation or
proposed assignment or participation pursuant to this Section 9.14, disclose to the assignee or
participant or proposed assignee or participant, any information relating to the Borrower
furnished to the Bank by or on behalf of the Borrower, provided that Bank shall require any such
Participant to maintain the confidentiality of such information in accordance with Section 9.16
hereof.

       Section 9.15 Patriot Act Notice.

        Bank hereby notifies the Borrower that, pursuant to the requirements of the Patriot Act, it
is required to obtain, verify and record information that identifies the Borrower and the other
Loan Parties, which information includes the name and address of the Borrower and the other
Loan Parties and other information that will allow Bank to identify the Borrower and the other
Loan Parties in accordance with the Patriot Act.

       Section 9.16 Confidentiality.

        The Bank agrees to maintain the confidentiality of the Information (as defined below),
except that Information may be disclosed (a) to its Affiliates and to its and its Affiliates’
respective partners, directors, officers, employees, agents, advisors and other representatives (it
being understood that the Persons to whom such disclosure is made will be informed of the
confidential nature of such Information and instructed to keep such Information confidential),
(b) to the extent requested by any regulatory authority purporting to have jurisdiction over it
(including any self-regulatory authority, such as the National Association of Insurance
Commissioners), (c) to the extent required by applicable laws or regulations or by any subpoena
or similar legal process, (d) in connection with the exercise of any remedies hereunder, under
any other Loan Document or under any other agreement or transaction between the Bank and the


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Loan Parties or any action or proceeding relating to this Agreement, any other Loan Document
or any other agreement or transaction between the Bank and the Loan Parties or the enforcement
of rights hereunder or thereunder, (e) subject to an agreement containing provisions substantially
the same as those of this Section, to any assignee of or Participant in, or any prospective assignee
of or Participant in, any of its rights or obligations under this Agreement, (f) with the consent of
the Borrower or (g) to the extent such Information (1) becomes publicly available other than as a
result of a breach of this Section or (2) becomes available to the Bank or any of their respective
Affiliates on a nonconfidential basis from a source other than the Borrower.

        For purposes of this Section, “Information” shall mean all information received from any
Loan Party or any of its Subsidiaries relating to any Loan Party or any of its Subsidiaries or any
of their respective businesses, other than any such information that is available to the Bank on a
nonconfidential basis from anyone other than a Loan Party prior to disclosure by any Loan Party
or any of its Subsidiaries; provided that, in the case of information received from any Loan Party
or any of its Subsidiaries after the date hereof, such information is clearly identified at the time
of delivery as confidential. Any Person required to maintain the confidentiality of Information
as provided in this Section shall be considered to have complied with its obligation to do so if
such Person has exercised the same degree of care to maintain the confidentiality of such
Information as such Person would accord to its own confidential information.




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                               EXHIBIT AND SCHEDULES TO
                                   LOAN AGREEMENT

EXHIBIT

A       Form of Note

B       Form of Compliance Certificate

SCHEDULES

3.1     States of Incorporation and Qualification, and Capitalization and Ownership of Stock, of
        Borrower and Guarantors

3.2     Consents, Waivers, Approvals; Violation of Agreements

3.5     Vessels

3.6     Judgments, Actions, Proceedings

3.7     Defaults; Compliance with Laws, Regulations, Agreements

3.8     Burdensome Documents

3.11    Patents, Trademarks, Trade Names, Service Marks, Copyrights

3.13    Name Changes, Mergers, Acquisitions; Location of Collateral

3.16    Labor Disputes; Collective Bargaining Agreements; Employee Grievances

3.18    Employee Benefit Plans

4.3     Form of Pre-Closing Borrower’s Certificate

7.1     Permitted Indebtedness and Guaranties

7.2     Permitted Security Interests, Liens and Encumbrances
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                                                                                      EXHIBIT A

                                              NOTE

$100,000,000.00                                                             New York, New York
                                                                               October 30, 2013

        FOR VALUE RECEIVED, the undersigned BOUCHARD TRANSPORTATION CO.,
INC., a New York corporation (the “Borrower”), hereby promises to pay to the order of WELLS
FARGO BANK, NATIONAL ASSOCIATION (the “Bank”) the principal sum of ONE
HUNDRED MILLION DOLLARS ($100,000,000.00), payable on October 30, 2018, or such
lesser amount as shall equal the full amount of the principal balance of this Note outstanding on
such date, and to pay interest on the unpaid principal amount hereof at the rates per annum and
for the periods set forth in or established by the Loan Agreement dated as of October 30, 2013
between the Borrower and the Bank (hereinafter, as it may from time to time be amended,
modified or supplemented, referred to as the “Loan Agreement”) and as calculated therein. This
is the Note referred to in the Loan Agreement.

       All indebtedness outstanding under this Note shall bear interest (computed in the same
manner as interest on this Note prior to the relevant due date) at the applicable Post-Default Rate
(as such term is defined in the Loan Agreement) for all periods when such indebtedness, or any
portion thereof, shall remain unpaid after the date on which such indebtedness was due, whether
by acceleration or otherwise, and all of such interest shall be payable on demand.

       The Bank shall maintain a record of each advance made by it to the Borrower under the
Loan Agreement and of the amount of interest thereon from time to time becoming due. Entries
on such record made in good faith by the Bank shall be prima facie evidence of the amount of
principal and interest due and payable or to become due and payable from the Borrower to the
Bank, provided, however, that the failure of the Bank to keep such a record or any finding that
such record is incorrect shall not limit or otherwise affect the obligations of any Borrower under
this Note or the Loan Agreement.

        Anything herein to the contrary notwithstanding, the obligation of the Borrower to make
payments of interest shall be subject to the limitation that payments of interest shall not be
required to be made to the Bank to the extent that the Bank’s receipt thereof would not be
permissible under the law or laws applicable to the Bank limiting rates of interest which may be
charged or collected by the Bank. Any such payments of interest which are not made as a result
of the limitation referred to in the preceding sentence shall be made by the Borrower to the Bank
on the earliest interest payment date or dates on which the receipt thereof would be permissible
under the laws applicable to the Bank limiting rates of interest which may be charged or
collected by the Bank.

       Payments of both principal and interest on this Note are to be made at the office of the
Bank at 58 S. Service Road, Suite 100, Melville, NY 11747 or such other place as the holder
hereof shall designate to the Borrower in writing, in lawful money of the United States of
America in immediately available funds. This Note is secured in the manner provided in the



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Loan Agreement, is subject to prepayment upon the terms and conditions thereof and is entitled
to the benefits thereof.

       Upon the occurrence of any Event of Default, as defined in the Loan Agreement the
principal amount of and accrued interest on this Note may be declared due and payable in the
manner and with the effect provided in the Loan Agreement.

       The Borrower shall pay costs and expenses of collection, including, without limitation,
attorneys fees and disbursements in the event that any action, suit or proceeding is brought by the
holder hereof to collect this Note.

      THIS NOTE SHALL BE GOVERNED BY, AND CONSTRUED AND ENFORCED IN
ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW YORK WITHOUT REGARD
TO ITS RULES PERTAINING TO CONFLICTS OF LAWS.

     THE BORROWER IRREVOCABLY CONSENTS THAT ANY LEGAL ACTION OR,
PROCEEDING AGAINST IT UNDER, ARISING OUT OF OR IN ANY MANNER
RELATING TO THIS NOTE MAY BE BROUGHT IN ANY COURT OF THE STATE OF
NEW YORK, COUNTY OF NEW YORK, OR IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK OR ANY JURISDICTION WHERE A
VESSEL MAY BE FOUND. THE BORROWER, BY THE EXECUTION AND DELIVERY
OF THIS AGREEMENT, EXPRESSLY AND IRREVOCABLY ASSENTS AND SUBMITS
TO THE PERSONAL JURISDICTION OF ANY OF SUCH COURTS IN ANY SUCH
ACTION OR PROCEEDING. THE BORROWER FURTHER IRREVOCABLY CONSENTS
TO THE SERVICE OF ANY COMPLAINT, SUMMONS, NOTICE OR OTHER PROCESS
RELATING TO ANY SUCH ACTION OR PROCEEDING BY DELIVERY THEREOF TO IT
BY HAND OR BY MAIL IN THE MANNER PROVIDED FOR IN SECTION 9.9 OF THE
LOAN AGREEMENT. THE BORROWER HEREBY EXPRESSLY AND IRREVOCABLY
WAIVES ANY CLAIM OR DEFENSE IN ANY SUCH ACTION OR PROCEEDING BASED
ON ANY ALLEGED LACK OF PERSONAL JURISDICTION, IMPROPER VENUE OR
FORUM NON CONVENIENS OR ANY SIMILAR BASIS. NOTHING IN THIS NOTE
SHALL AFFECT OR IMPAIR IN ANY MANNER OR TO ANY EXTENT THE RIGHT OF
THE BANK TO COMMENCE LEGAL PROCEEDINGS OR OTHERWISE PROCEED
AGAINST SUCH BORROWER IN ANY JURISDICTION OR TO SERVE PROCESS IN ANY
MANNER PERMITTED BY LAW.

     THE BORROWER WAIVES TRIAL BY JURY IN ANY LITIGATION IN ANY
COURT WITH RESPECT TO, IN CONNECTION WITH, OR ARISING OUT OF, THIS
NOTE, OR THE VALIDITY, PERFECTION, INTERPRETATION, COLLECTION OR
ENFORCEMENT THEREOF, OR ANY COURSE OF CONDUCT, COURSE OF DEALINGS,
STATEMENTS (WHETHER VERBAL OR WRITTEN) OR ACTIONS OF ANY PARTY,
INCLUDING, WITHOUT LIMITATION, ANY COURSE OF CONDUCT, COURSE OF
DEALINGS, STATEMENTS OR ACTIONS OF BANK RELATING TO THE
ADMINISTRATION OF THE LOAN OR ENFORCEMENT OF THE LOAN DOCUMENTS,
AND AGREES THAT IT WILL NOTE SEEK TO CONSOLIDATE ANY SUCH ACTION
WITH ANY OTHER ACTION IN WHICH A JURY TRIAL CANNOT BE OR HAS NOT
BEEN WAIVED. EXCEPT AS PROHIBITED BY LAW, THE BORROWER HEREBY


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WAIVES ANY RIGHT IT MAY HAVE TO CLAIM OR RECOVER IN ANY LITIGATION
ANY SPECIAL, EXEMPLARY, PUNITIVE OR CONSEQUENTIAL DAMAGES OR ANY
DAMAGES OTHER THAN, OR IN ADDITION TO, ACTUAL DAMAGES.         THE
BORROWER CERTIFIES THAT NO REPRESENTATIVE, AGENT OR ATTORNEY OF
BANK HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT BANK WOULD NOT,
IN THE EVENT OF LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER.
THIS WATER CONSTITUTES A MATERIAL INDUCEMENT FOR THE BANK TO
ACCEPT THIS NOTE AND MAKE ANY LOAN PROVIDED FOR HEREIN.

                                 BOUCHARD TRANSPORTATION CO., INC.

                                 By:
                                       Title:




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                                       SCHEDULE 3.1
                                   TO LOAN AGREEMENT

                  STATES OF INCORPORATION AND QUALIFICATION,
                      AND CAPITALIZATION AND OWNERSHIP
                    OF STOCK OF BORROWER AND GUARANTORS



       The Borrower and each of the Guarantors are New York Corporations.

       BOUCHARD TRANSPORTATION CO., INC. is owned 100% by trusts for the benefit
of Morton S. Bouchard III or his family members.



       BOUCHARD TRANSPORTATION CO., INC. in turn owns 100% of the shares of:

       B. No. 210 Corp.
       B. No. 215 Corp.
       B. No. 225 Corp.
       B. No. 245 Corporation
       B. No. 250 Corp.
       B. No. 260 Corporation
       Tug Daniel M. Bouchard Corp.
       Tug Brendon J. Bouchard Corp.
       Tug Jane A. Bouchard Corp.
       Tug Evening Star Corp.


        Each grantor, each beneficiary and each trustee of each of the above-mentioned trusts is a
citizen of the United States, as is each officer and director of each of the Borrower and
Guarantors. For the avoidance of any doubt, the only Persons who are guaranteeing the
Obligations are those Persons defined as a “Guarantor” in the Agreement. Without limiting the
generality of the preceding sentence, no trust and no natural Person, including, without
limitation, Morton S. Bouchard III, any member of the family of Morton S. Bouchard III or any
trust controlled by any of them is a Guarantor.




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                            SCHEDULE 3.2
                        TO LOAN AGREEMENT

                  CONSENTS, WAIVERS, APPROVALS;
                    VIOLATION OF AGREEMENTS

                                None.




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                                     SCHEDULE 3.5
                                 TO LOAN AGREEMENT

                                         VESSELS

                                                                   Agreed Value
                                                                         in
                     Official                                       the Event of
Vessel Name          Number           Owning Company                    Loss
B. No. 260           1210060          B. No. 260 Corporation        $14,490,000
B. No. 210           1037844          B. No. 210 Corp.              $14,280,000
B. No. 215           1064767          B. No. 215 Corp.              $18,780,000
B. No. 225           1139764          B. No. 225 Corp.              $20,640,000
B. No. 245           1050073          B. No. 245 Corporation        $36,030,000
B. No. 250           1235496          B. No. 250 Corp.              $14,920,000
Danielle M.          1053010          Tug Danielle M.               $18,510,000
Bouchard                              Bouchard Corp.
Brendan J.           1086926          Tug Brendan J.                $12,090,000
Bouchard                              Bouchard Corp.
Evening Star         1234828          Tug Evening Star Corp.        $12,090,000
Jane A. Bouchard     1139762          Tug Jane A. Bouchard          $13,500,000
                                      Corp.
                                           Total:                  $175,330,000


Each Ship Mortgage covering the above listed Vessels should be filed with the National Vessel
Documentation Center.




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                            SCHEDULE 3.7
                        TO LOAN AGREEMENT

   DEFAULTS: COMPLIANCE WITH LAWS, REGULATIONS, AGREEMENTS



                                None




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                            SCHEDULE 3.8
                        TO LOAN AGREEMENT

                     BURDENSOME DOCUMENTS

                                None




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                                     SCHEDULE 3.11
                                  TO LOAN AGREEMENT

                          PATENTS, TRADEMARKS, TRADE
                        NAMES, SERVICE MARKS, COPYRIGHTS



1.     See Schedule 3.5 for official name of each vessel.

2.     www.Bouchardtransport.com.




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                                   SCHEDULE 3.13
                                TO LOAN AGREEMENT

                           NAME CHANGES, MERGERS,
                     ACQUISITIONS LOCATION OF COLLATERAL



None except the following:

       1.     Bouchard Coastwise Management Corp. was merged into Borrower by a
              Certificate of Merger dated December 1, 2009 and filed December 3, 2009.

       2.     Bouchard Ocean Services, Inc. was merged into Borrower by a Certificate of
              Merger dated December 31, 2012.




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                           SCHEDULE 3.16
                        TO LOAN AGREEMENT

             LABOR DISPUTES, COLLECTIVE BARGAINING
               AGREEMENTS: EMPLOYEE GRIEVANCES



  None.




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                                     SCHEDULE 3.18
                                  TO LOAN AGREEMENT

                               EMPLOYEE BENEFIT PLANS



BOUCHARD TRANSPORTATION CO., INC. EMPLOYEES RETIREMENT TRUST,
effective December 31, 1973 (the “1973 Trust”).

BOUCHARD TRANSPORTATION CO., INC. Vessel Employee’s 401(k) Retirement Plan,
effective December 31, 1997.*

*To be merged into the 1973 Trust on or about January 1, 2014.




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                                       SCHEDULE 4.3
                                   TO LOAN AGREEMENT

                          FORM OF BORROWER’S CERTIFICATE

       I, Morton S. Bouchard, III, hereby certify that:

1.     I am the President of Bouchard Transportation Co., Inc., a New York corporation and the
       “Borrower” under the terms of a Loan Agreement dated as of October 30, 2013 between
       such corporation and Wells Fargo Bank, National Association (the “Loan Agreement”).
       Capitalized terms used in this Borrowing Certificate not herein defined are used with the
       meanings given such terms in the Loan Agreement.

2.     This certificate is given the Bank in connection with a Loan being made on the date
       hereof.

3.     The proceeds of such Loan will be used for the purposes set forth in Section 2.13 of the
       Loan Agreement.

4.     No Default or Event of Default has occurred and is continuing under the Loan
       Agreement; and no such Default or Event of Default will exist after giving effect to such
       Loan.

5.     The representations and warranties contained in Article 3 of the Loan Agreement are true
       and correct on the date hereof, except for changes in the ordinary course of business none
       of which, either singly or in the aggregate, have had a Material Adverse Effect on the
       Borrower.

IN WITNESS WHEREOF I have hereunto set my hand this __ day of ______, ___.


                                                     Morton S. Bouchard, III,
                                                     President of the Borrower
                                                     under the Loan Agreement above
                                                     referred to.




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                            SCHEDULE 7.1
                        TO LOAN AGREEMENT

             PERMITTED INDEBTEDNESS AND GUARANTIES

                                None.




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                            SCHEDULE 7.2
                        TO LOAN AGREEMENT

                  PERMITTED SECURITY INTERESTS,
                    LIENS AND ENCUMBRANCES

                                None.




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                                                                                EXHIBIT B
                                                                      TO LOAN AGREEMENT

                          FORM OF COMPLIANCE CERTIFICATE

       I, __________________, hereby certify that:

1.     I am the [President/Chief Financial Officer] of Bouchard Transportation Co., Inc., a New
       York corporation and the “Borrower” under the terms of a Loan Agreement dated as of
       October 30, 2013 between such corporation and Wells Fargo Bank, National Association
       (the “Loan Agreement”). Capitalized terms used in this Compliance Certificate not
       herein defined are used with the meanings given such terms in the Loan Agreement.

2.     As of the date hereof no Default or Event of Default has occurred and is continuing under
       the Loan Agreement; and no such Default or Event of Default will exist after giving
       effect to [proposed action] nor would, upon consummation of [such proposed transaction]
       the covenants set forth in Section 6.9 of the Loan Agreement be breached. Annexed
       hereto is a calculation showing in detail that such [proposed transaction] would so
       comply with such covenants.

3.     The representations and warranties contained in Article 3 of the Loan Agreement are true
       and correct on the date hereof, except for changes in the ordinary course of business none
       of which, either singly or in the aggregate, have had a Material Adverse Effect on the
       Borrower.

IN WITNESS WHEREOF I have hereunto set my hand this __ day of ______, ____.


                                                     [President/Chief Financial Officer]
                                                     of the Borrower under the
                                                     Loan Agreement above referred to.




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                                                                                EXHIBIT C
                                                                      TO LOAN AGREEMENT

                                          GUARANTY

       THIS GUARANTY, made as of the 30th day of October, 2013 jointly and severally by
each of the undersigned, each a New York corporation, (each a “Guarantor” and collectively
the “Guarantors”), in favor of WELLS FARGO BANK, NATIONAL ASSOCIATION, a
national banking association (the “Bank”),

                                      WITNESSETH:

       WHEREAS:

        A.     Bouchard Transportation Co., Inc., a New York corporation (the “Borrower”), has
entered into an Loan Agreement dated as of October 30, 2013 (such agreement, including all
exhibits and schedules thereto, as it may from time to time be amended, modified or
supplemented, is hereinafter referred to as the “Loan Agreement”) with the Bank, pursuant to
which the Bank has agreed to make loans to the Borrower in the aggregate principal amount of
One Hundred Million Dollars ($100,000,000), upon and subject to the terms and conditions of
the Loan Agreement;

       B.      Each Guarantor is a wholly-owned subsidiary of the Borrower and as such will
derive benefits, both directly and indirectly, from the Borrower’s receipt of the proceeds of the
Loans to be made by the Bank pursuant to the Loan Agreement;

       C.     It is a condition precedent to the obligation of the Bank to make the loans
provided for in the Loan Agreement that each of the Guarantors execute and deliver this
Guaranty; and

        D.     All capitalized terms used herein that are defined in the Loan Agreement and that
are not otherwise defined herein shall have the respective meanings ascribed to them therein
unless the context otherwise requires;

       NOW, THEREFORE, in order to induce the Bank to execute and deliver the Loan
Agreement and to make the Loans contemplated thereunder, and in consideration of the benefits
expected to accrue to the Guarantors by reason thereof, and for other good and valuable
consideration, receipt and sufficiency of which is hereby acknowledged, each of the Guarantors
hereby represents and warrants to, and covenants and agrees with the Bank, as follows:

        1.      Each Guarantor hereby irrevocably and unconditionally guarantees to the Bank
the punctual payment of the full amount, when due (whether by demand, acceleration or
otherwise), of: (a) the principal of and interest on, and fees and expenses due pursuant to, the
note issued by the Borrower pursuant to the Loan Agreement (hereinafter referred to, together
with any and all amendments, modifications, substitutions and/or replacements thereof and
thereto, as the “Note”), and (b) all other Indebtedness, liabilities and obligations of the Borrower
to the Bank, whether under the Loan Agreement or otherwise created, whether now or hereafter


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existing, and whether or not currently contemplated, due or to become due, direct or contingent,
joint, several or independent, secured or unsecured and whether matured or unmatured (all of the
Indebtedness, liabilities and obligations included in clauses (a) and (b) of this paragraph I are
hereinafter referred to collectively as the “Guaranteed Obligations”). This is a guaranty of
payment and not of collection, and is the primary obligation of each Guarantor, and the Bank
may enforce this Guaranty in full at any time after the occurrence of any Event of Default (as
defined in any of the Loan Agreement) against each of the Guarantors without any prior
enforcement of the Guaranteed Obligations against the Borrower, any other guarantor (including
any other Guarantor hereunder), or against any Collateral.

        2.     All payments made by any Guarantor under or by virtue of this Guaranty shall be
paid to the Bank at its office at 58 S. Service Road, Suite 100, Melville, NY 11747, or such
other place as the Bank may hereafter designate in writing. Each Guarantor hereby agrees to
make all payments under or by virtue of this Guaranty to the Bank as aforesaid. The Bank shall
not be required otherwise to establish its authority to receive any payment made under or by
virtue hereof.

         3.     Each Guarantor hereby waives notice of acceptance of this Guaranty, notice of the
creation, renewal or accrual of any of the Guaranteed Obligations and notice of any other
liability to which this Guaranty may apply, and notice or proof of reliance by the Bank upon this
Guaranty, and waives diligence, protest, notice of protest, presentment, demand of payment,
notice of dishonor or nonpayment of any of the Guaranteed Obligations, suit or taking other
action or making any demand against, and any other notice to the Borrower or any other party
liable thereon. During the existence of an Event of Default, the Bank may, at its election,
foreclose on any security held by the Bank by one or more judicial or nonjudicial sales, whether
or not every aspect of any such sale is commercially reasonable (to the extent such sale is
permitted by applicable law), or exercise any other right or remedy the Bank may have against
the Borrower or any other party, or any security, without affecting or impairing in any way the
liability of any Guarantor hereunder except to the extent the Obligations have been indefeasibly
paid in full in cash and the Commitment has been terminated. Each Guarantor waives any
defense arising out of any such election by the Bank, even though such election operates to
impair or extinguish any right of reimbursement or subrogation or other right or remedy of the
Guarantors against the Borrower or any other party or any security.

       4.      So far as each Guarantor is concerned, the Bank may, at any time and from time
to time, without the consent of, or notice to any Guarantor, and without impairing or releasing
any of the obligations of any Guarantor hereunder, upon or without any terms or conditions and
in whole or in part:

                (a)     modify or change the manner, place or terms of, and/or change or extend
the time of payment of, renew or alter, any of the Guaranteed Obligations, any security therefor
any liability incurred directly or indirectly in respect thereto and this Guaranty shall apply to the
Guaranteed Obligations as so modified, changed, extended, renewed or altered;

             (b)    sell, exchange release; surrender, realize upon or otherwise deal with, in
any manner and in any order, any property by whomsoever at any time pledged or mortgage to
secure or howsoever securing the Guaranteed Obligations or any liabilities (including any of


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these hereunder) incurred directly or indirectly in respect thereof or hereof and/or any offset or
right with respect thereto;

                (c)     exercise or refrain from exercising any rights against the Borrower or
others (including, without limitation any other guarantor of payment of the Guaranteed
Obligations) or otherwise act or refrain from acting and when making any demand hereunder
against any Guarantor, the Bank may, but shall be under no obligation to, make a similar demand
on any other guaranty of payment of the Guaranteed Obligations, and any failure by the Bank to
make any such demand or to collect any payments from, or release of any other guarantor of
payment of the Guaranteed Obligations shall not relieve any Guarantor of its obligations and
liabilities hereunder, and shall, not release; impair or affect the rights and remedies, express or
implied, or as a matter of law, of the Bank against the Guarantor (for the purposes hereof,
“demand” shall include the commencement and continuance of any legal proceedings);

                (d)    settle or compromise any of the Guaranteed Obligations, any security
therefor or any liability (including any of those hereunder) incurred directly or indirectly in
respect thereof or hereof, and subordinate the payment of all or any part thereof to the payment
of any liability (whether due or not) of the Borrower to creditors of the Borrower other than the
Bank and such Guarantor,

             (e)     apply any sums by whomsoever paid or howsoever realized to any of the
Guaranteed Obligations, regardless of what liability or liabilities of the Borrower remain unpaid;
and

              (f)     amend or otherwise modify any of the Loan Agreement, consent to or
waive any breach of, or any act, omission or default or Event of Default under any of the Loan
Agreement, any of the Notes, or any agreements, instruments or documents referred to therein or
executed and delivered pursuant thereto or in connection therewith, and this Guaranty shall apply
to the Guaranteed Obligations as set forth in each of such documents as so amended and
modified. Any such action, shall not impair or release any of the obligations of any Guarantor
hereunder.

        5.      No invalidity, irregularity or unenforceability of all or any part of the Guaranteed
Obligations or of any security therefor shall affect, impair or be a defense to this Guaranty, and
this Guaranty shall be construed as a continuing, absolute and unconditional guarantee of
payment without regard to the validity, regularity or enforceability of the Loan Agreement, the
Notes or any of the other Guaranteed Obligations or any collateral security therefor or guaranty
thereof or rights of offset with respect thereto at any time or from time to time held by the Bank
and without regard to any defense, offset or counterclaim that may at any time be available to or
be asserted by the Borrower against the Bank or that constitutes, or might be construed to
constitute, a defense or equitable or legal discharge of the Borrower for the Guaranteed
Obligations or any part thereof of any Guarantor under this Guaranty, in bankruptcy or in any
other instance.

        6.      Each Guarantor hereby acknowledges that the value of certain collateral security
transferred, assigned and pledged to and with the Bank, as provided in the Loan Agreement will
be adversely affected by any right of the Guarantor to be subrogated to the rights of the Bank


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with respect to any indebtedness of the Borrower to the Bank. Accordingly, until such time as
the Guaranteed Obligations are paid in full, the Guarantor hereby irrevocably waives, for the
benefit of the Bank, any and all rights that it presently has, or may hereafter have, whether by
virtue of any payment or payments hereunder or otherwise, to be subrogated to the rights of the
Bank against the Borrower with respect to any such indebtedness of the Borrower to the Bank.

        7.      Each Guarantor agrees to be bound by, and to comply with all of the terms,
covenants and provisions of each Loan Agreement to the extent that the same impose obligations
in respect of or grant rights against it as a Guarantor or otherwise.

       8.      Each Guarantor makes the following representations and warranties, which shall
survive the execution and delivery of this Guaranty:

              (a)     The Guarantor has examined the Loan Agreement, including the exhibits
and schedules thereto, and all of the representations and warranties set forth in the Loan
Agreement, to the extent the same relate to the Guarantor, are true and correct.

                (b)    The Guarantor is a corporation, duly organized, validly existing and in
good standing under the laws of the State of New York. The Guarantor has all requisite power
and authority, corporate or otherwise, to execute, deliver and perform this Guaranty, and has
taken all necessary action, corporate or otherwise, to authorize the execution, delivery and
performance of this Guaranty. This Guaranty has been duly executed and delivered and
constitutes the valid and legally binding obligation of the Guarantor, enforceable in accordance
with its terms, except as such enforcement may be limited by applicable bankruptcy, insolvency,
reorganization or moratorium laws, now or hereafter in effect, relating to or affecting the
enforcement of creditors’ rights generally, and further subject to the discretion of the court in
granting the remedy of specific performance and other equitable remedies.

                (c)    No consent or approval of any Person (including, without limitation,
stockholders of the Guarantor), no consent or approval of any landlord or mortgagee, no waiver
of any Lien or right of distraint or other similar right and no consent, license, approval,
authorization or declaration of, any Governmental Authority, bureau or agency, is or will be
required in connection with the execution, delivery, performance, validity, enforcement or
priority of this Guaranty, or any other agreements, instruments or documents to be executed or
delivered pursuant hereto or thereto.

                (d)     The execution and delivery of this Guaranty and any other agreements,
instruments or documents to be executed and delivered hereunder, and performance herein and
thereunder will not violate any provision of law, statute, rule or regulation to which the
Guarantor is subject or conflict with or result in a breach of any judgment, decree, writ,
injunction, ordinance, resolution, award, franchise, order, permit or other similar document or
instrument of any court or Governmental Authority, bureau or agency, domestic or foreign, or
the charter or by-law of the Guarantor, or create (with or without the giving of notice or lapse of
time, or both) a default under any agreement, bond, note or indenture to which the Guarantor is a
party or by which it is bound.




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                (e)     Each of the Guarantors hereby appoints the Borrower to act as its agent for
all purposes under the Loan Documents and agrees that (i) the Borrower may execute such
documents on behalf of such Guarantor as the Borrower deems appropriate in its sole discretion
and each Guarantor shall be obligated by all of the terms of any such document executed on its
behalf, (ii) any notice or communication delivered by the Bank shall be deemed delivered to each
Guarantor and (iii) the Bank may accept, and be permitted to rely on, any document, instrument
or agreement executed by the Borrower on behalf of each Guarantor.

        9.      All notices, requests, demands or other communications hereunder shall be in
writing either by letter (delivered by hand or commercial messenger service or sent by certified
mail, return receipt requested) or telegram or telecopy, addressed as follows:

               (a)    If to any Guarantor:

                      c/o Bouchard Transportation Co., Inc.
                      58 S. Service Drive
                      Suite 150
                      Melville, New York, 11747
                      Attention: Morton S. Bouchard, III President
                      Telecopier No.: (631) 390-4955

                      with a copy to:

                      Stephen I. Siller, Esq.
                      LeClairRyan, A Professional Corporation
                      885 Third Avenue — 16th Floor
                      New York, New York 10022
                      Telecopier No.: (212) 430-8065

               (b)    If to the Bank:

                      Wells Fargo Bank, National Association
                      58 S. Service Road, Suite 100
                      Melville, NY 11747
                      Attention: Edward P. Nallan, Jr.
                      Telecopier No.: 516-577-8333

                      with a copy to:

                      King & Spalding LLP
                      100 N. Tryon St.
                      Charlotte, North Carolina
                      Attention: Justin Riess
                      Telecopier No.: (704) 503-2622

 Any notice, request, demand or other communication hereunder shall be deemed to have been
given on: (x) the day on which it is telecopied to such party at its telecopier number specified
above (provided such notice shall be effective only if followed by one of the other methods of


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delivery set forth herein) or delivered by receipted hand or such commercial messenger service
to such party at its address specified above, or (y) on the third Business Day after the day
deposited in the mail, postage prepaid, if sent by mail, or (z) on the day it is delivered to the
telegraph company, addressed as aforesaid, if sent by telegraph. The Bank or the Guarantor may
change the Person, address or telecopier number to whom or which notices are to be given
hereunder, by notice duly given hereunder; provided, however, that any such notice shall be
deemed to have been given hereunder only when actually received by the party to which it is
addressed.

       10.     No delay on the part of the Bank in exercising any of its options, powers or rights,
and no partial or single exercise thereof, whether arising hereunder, under any of the Loan
Agreement, any of the Notes, or otherwise, shall constitute a waiver thereof or affect any right
hereunder. No waiver of any of such rights and no modification, amendment or discharge of this
Guaranty shall be effected unless executed and delivered in accordance with the provisions of the
Loan Agreement and then such waiver shall apply only with respect to the specific instance
involved and shall in no way impair the rights of the Bank or the obligations of the Guarantor to
the Bank in any other respect at any other time.

     11.  THIS GUARANTY AND THE RIGHTS AND OBLIGATIONS OF THE
BANK AND THE GUARANTORS HEREUNDER SHALL BE GOVERNED BY, AND
CONSTRUED AND ENFORCED IN ACCORDANCE WITH, THE LAWS OF THE
STATE OF NEW YORK WITHOUT REGARD TO ITS RULES PERTAINING TO
CONFLICTS OF LAWS. EACH GUARANTOR WAIVES TRIAL BY JURY IN ANY
LITIGATION IN ANY COURT WITH RESPECT TO, IN CONNECTION WITH, OR
ARISING OUT OF THIS GUARANTY. IN THE EVENT THE BANK BRINGS ANY
ACTION OR SUIT IN ANY COURT OF RECORD IN THE STATE OF NEW YORK TO
ENFORCE ANY OR ALL LIABILITIES OF ANY GUARANTOR HEREUNDER,
SERVICE OF PROCESS MAY BE MADE UPON ANY GUARANTOR BY MAILING A
COPY OF THE SUMMONS TO THE GUARANTOR BY CERTIFIED OR
REGISTERED MAIL, AT THE ADDRESS SPECIFIED IN PARAGRAPH 9 HEREOF,
AND EACH GUARANTOR HEREBY CONSENTS TO THE JURISDICTION OF THE
COURTS OF THE STATE OF NEW YORK, COUNTY OF NEW YORK, AND THE
UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF NEW
YORK OVER THE PERSON OF SUCH GUARANTOR AND HEREBY WAIVES ANY
CLAIM OR DEFENSE IN ANY SUCH ACTION OR PROCEEDING BASED ON ANY
ALLEGED LACK OF PERSONAL JURISDICTION, IMPROPER VENUE, OR THAT
NEW YORK COUNTY OR THE SOUTHERN DISTRICT OF NEW YORK IS AN
INCONVENIENT FORUM. EACH GUARANTOR HEREBY WAIVES THE RIGHT TO
INTERPOSE COUNTERCLAIMS OR SET-OFFS OF ANY KIND AND DESCRIPTION
IN ANY SUCH ACTION OR SUIT ARISING HEREUNDER OR IN CONNECTION
HEREWITH UNLESS SUCH COUNTERCLAIM OR SET-OFF WOULD, UNDER
APPLICABLE LAW, BE PERMANENTLY AND IRREVOCABLY LOST IF NOT
ASSERTED IN SUCH ACTION OR SUIT. EACH GUARANTOR ACKNOWLEDGES
THAT THE FOREGOING WAIVERS CONSTITUTE A MATERIAL INDUCEMENT
FOR THE BANK TO ACCEPT THIS GUARANTY.




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        12.     If claim is ever made upon the Bank for repayment or recovery of any amount or
amounts received by it in payment or on account of any of the Guaranteed Obligations and it
repays all or part of such amount by reason of any: (a) judgment, decree or order of any court or
administrative body having jurisdiction over it or any of its property, or (b) settlement or
compromise of any such claim effected by it with any such claimant (including the Borrower),
then, and in either such event, each Guarantor agrees that any such judgment, decree, order,
settlement or compromise shall be binding upon such Guarantor, notwithstanding the
cancellation of any instrument evidencing any of the Guaranteed Obligations, and each
Guarantor shall be and remain liable hereunder for the amount so repaid or recovered to the same
extent as if such amount had never originally been received by the Bank.

        13.    This Guaranty shall be binding upon each Guarantor and its successors and
assigns and shall inure to the benefit of the Bank and its successors and assigns; provided
however, that no Guarantor shall be entitled to assign or delegate any of its rights or obligations
under this Guaranty without the prior written consent of the Bank, and any purported assignment
in the absence of such consent shall be void. This Guaranty embodies the entire agreement and
understanding between the Bank and the Guarantors relating to the subject matter hereof and
supersedes all prior agreements and understandings relating to the subject matter hereof.

       14.       (a)   The provisions of this Guaranty are severable. If any clause or provision

        shall be held invalid or unenforceable in whole or in part in any jurisdiction, then such
invalidity or unenforceability shall affect only such clause or provision, or part thereof, in such
jurisdiction and shall not in any manner affect such clause or provision in any other jurisdiction,
or any other clause or provision in this Guaranty in any jurisdiction.

               (b)     If any other guaranty by any one or more other guarantors of the
Guaranteed Obligations is held or determined to be void, invalid or unenforceable, in whole or in
part, such holding or determination shall not impair or affect the validity and enforceability of:

                        (i)    the guaranty hereunder by each Guarantor, which shall continue in
full force and effect in accordance with its terms; or

                       (ii)   any clause or provision not so held to be void, invalid or
unenforceable.

               (c)    This Guaranty is the joint and several obligation of each of the Guarantors
hereunder and shall be construed as if each Guarantor has separately obligated itself pursuant to
the terms hereof without reference to the obligations of any other Guarantor.

                         [Remainder of this page intentionally left blank]




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       IN WITNESS WHEREOF, the undersigned have each caused this Guaranty to be duly
executed and delivered as of the day and year first above written.

                                      B. NO. 210 Corp.;
                                      B. NO. 215 Corp.;
                                      B. NO. 225 Corp.;
                                      B. NO. 245 Corporation;
                                      B. NO. 250 Corp.;
                                      B. NO. 260 Corporation;
                                      Tug Brendan J. Bouchard Corp.;
                                      Tug Danielle M. Bouchard Corp.;
                                      Tug Jane A. Bouchard Corp.
                                      Tug Evening Star Corp.


                                      By:
                                            Title: President of, and on behalf of,
                                            each of the above-named corporations.




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                                                                                EXHIBIT D
                                                                      TO LOAN AGREEMENT

                                        [FORM OF]
                                  SOLVENCY CERTIFICATE


TO:            Wells Fargo Bank, National Association

RE:            Loan Agreement, dated as of October 30, 2013, by and among BOUCHARD
               TRANSPORTATION CO., INC., a New York corporation (“Borrower”) and
               Wells Fargo Bank, National Association, as Bank (as amended, modified,
               extended, restated, replaced, or supplemented from time to time, the “Loan
               Agreement”; capitalized terms used herein and not otherwise defined shall have
               the meanings set forth in the Loan Agreement)

DATE:          October 30, 2013


        The undersigned president or chief financial officer of the Borrower is familiar with the
properties, businesses, assets and liabilities of the Loan Parties and is duly authorized to execute
this certificate on behalf of the Borrower and the Loan Parties.

        The undersigned certifies that he/she has made such investigation and inquiries as to the
financial condition of the Loan Parties as the undersigned deems necessary and prudent for the
purpose of providing this Certificate. The undersigned acknowledges that the Bank is relying on
the truth and accuracy of this Certificate in connection with the making of Loans under the Loan
Agreement.

        The undersigned certifies that the financial information, projections and assumptions
which underlie and form the basis for the representations made in this Certificate were
reasonable when made and were made in good faith and continue to be reasonable as of the date
hereof.

       BASED ON THE FOREGOING, the undersigned certifies that, both before and after
giving effect to the transactions contemplated by the Loan Agreement and other Loan
Documents:

                 (a)     Each of the Loan Parties is solvent and is able to pay its debts and other
        liabilities, contingent obligations and other commitments as they mature in the normal
        course of business.

               (b)     The fair saleable value of each Loan Party’s assets, measured on a going
        concern basis, exceeds all probable liabilities, including those to be incurred pursuant to
        the Loan Agreement.
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              (c)    None of the Loan Parties has unreasonably small capital in relation to the
       business in which it is or proposed to be engaged.

             (d)      None of the Loan Parties has incurred, or believes that it will incur debts
       beyond its ability to pay such debts as they become due.

               (e)    In executing the Loan Documents and consummating the Transactions,
       none of the Loan Parties intends to hinder, delay or defraud either present or future
       creditors or other Persons to which one or more of the Loan Parties is or will become
       indebted.

        This Certificate may, upon execution, be delivered by facsimile or electronic mail, which
shall be deemed for all purposes to be an original signature.

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                            BOUCHARD TRANSPORTATION CO., INC.


                            By
                              Title:
